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          Exhibit 2
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                                                                                                          1

 Expert Opinion of Gail A. Van Norman MD

 February 10, 2022


  Gail A. VanNormanMD
· Professor of Anesthesiology and Pain Medicine
  Adjunct Professor Bioethics
  University of Washington
  1959 NE Pacific St,
  Seattle, WA. 98195




 I.     Expert Qualifications (see also Addendum I: Gail A. Van Norman MD Curriculum Vitae):

 I am a medical doctor, board-certified in both Internal Medicine and Anesthesiology, and subspecialty
 trained in Cardiovascular and Thoracic Anesthesiology The full details of my educational and
 professional background and experience, including my publications and invitational lectures can be
 found in the attached curriculum vitae as Appendix I.

 A majority of my clinical experience has been based in cardiac and general anesthesiology, as well as
 perioperative care of the anesthesia patient; I have extensive personal clinical experience with high-
 dose benzodiazepine-based anesthesia for cardiac surgery patients in approximately 750 to 1000
 cardiac cases.

 Over the course of my career I have been an expert consultant/witness in 14 medically-related cases,
 both as a defense and as a plaintiffs expert in approximately equal numbers, and both as a paid and as a
 pro bono expert. In 3 of these cases, I was consulted as an expert in bioethics: i.e. regarding informed
 consent and end-of-life issues. In the remainder, I was consulted as an expert in the anesthesia care of a
 patient. In the last 4 years, I have provided testimony at trial or by deposition in 9 cases, 3 of which
 were lethal injection cases: the list is included in Appendix II following this report. I am not now,
 nor ever have been an employee of any legal firm or entity, nor do I derive a significant portion of my
 income from medico-legal expert witness activities. My fee schedule for this case is:

        Review of medical records or other materials provided by Client   $400/hr
        Phone conference, reference research, report preparation          $400/hr
        Testimony, including deposition                                   $500/hr




 II.    Materials Reviewed

 I have relied on my own significant clinical experience with the drugs in Oklahoma's three-drug
 protocol, including high-dose intravenous (IV) midazolam and other benzodiazepines (drugs of the
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                                                                                                         2

~e class) us~d ~uring the induction of anesthesia during cardiac surgery and other cases, as well as
vanous authontative textbooks, peer-reviewed articles, materials from government regulatory agencies
such as the FDA, and other publications and materials as included in the references cited and footnoted
throughout this report. I reserve the right to revise my opinion should further relevant information
come to my attention, including productions relating to the executions conducted by Oklahoma in 2021
and 2022.

I have reviewed and relied upon the materials listed in Appendix III: "Materials Relied Upon and/or
Reviewed" in preparing this report as well as the references cited in this report. More documents,
studies, reviews and other pertinent information may become available to me prior to trial, and I reserve
the right to take such materials into account and to modify/supplement my opinions accordingly. I may
also be present at hearings or at trial, or review trial transcripts, and may take into account any
testimony or other evidence presented there that is related to my opinions and modify/supplement my
opinions accordingly.

III.   The Oklahoma Execution Protocol

Oklahoma uses a 3-drug protocol for lethal injection executions consisting of 500 mg of midazolam,
100 mg of vecuronium bromide and 240 mEq of potassium chloride. Five minutes after administration
of the first drug (midazolam) the protocol calls for a consciousness check by an IV team member. The
specific steps of this consciousness check are not specified in the protocol, which only refers to "all
necessary and medically appropriate measures". The declaration of the IV Team Leader, who I
understand attended a U.S. accredited medical school, explains the methodology to be used simply as
"verbal, sternum rub, painful stimulation." There is no definition of what would constitute confirmation
of "unconsciousness" in the protocol. After this check, the remaining chemicals are injected in order:
vecuronium, followed at an unspecified time by potassium chloride. Death is declared as the point
where all electrical activity of the heart has ceased as indicated on a standard ECG monitor.

IV.    Expert Opinion Questions

I have been asked to review the Oklahoma lethal injection protocol and the evidence of how it has been
implemented to provide an opinion based on my medical expertise and understanding of the protocol of
what a prisoner will experience as a result of this protocol. I intend to apply this analysis to the
executions that have taken place for which we have documentation at the time I testify. This includes
documentation on the execution of John Grant. I expect to receive documentation on the executions of
Bigler Stouffer, Donald Grant and Gilbert Postelle prior to trial to include in my analysis.

My evaluation addresses the following questions:

First, what is midazolam' s effect on consciousness and awareness and will a 500 mg dose render a
prisoner insensate to the noxious stimuli of the protocol?

Second, what is the effectiveness and reliability of the protocol's consciousness check to establish a
prisoner unconscious an insensate to such noxious stimuli?
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Third, what are the effects of the vecuronium bromide and potassium chloride as used in the protocol
and what noxious stimuli do they represent?

Fourth, what do the movements seen in prisoners during midazolam executions, including John Grant's
execution, signify?


V.       The Execution of John Grant


Sworn testimony of three eyewitnesses, Judy Gardner, Meghan Lafrancois, and Ervin Yen, a document
entitled "J. Grant Correctional Service Log OAG - 019037-OAG- 019042", a hand-written document
entitled "Grant OAG - 019353-OAG- 019353" that appears to have been contemporaneously created
by an unnamed member of the Board of Corrections with times and comments during the execution,
two media eyewitness reports and EKG/pulse oximetry tracings from the execution generally
corroborate each other in the following sequence of events:

     Prior to administration of midazolam 1 : At approximately 16:07-16:08 the inmate was awake and
     verbal.

     16:09 (time 0): DOC service log indicates beginning of injection of chemicals. All witnesses agree
     that around 16:09 drugs started flowing, and the corrections official's note indicates that syringes lA,
     lB, and lC were administered beginning at 16:09. These syringes were prescripted to contain a total
     of 500 mg ofmidazolam and a saline flush. Both Ms. Gardner and Ms. LeFrancois2 testify that Mr.
     Grant continued to move purposefully at this point. He closed his eyes, lifted his head, opened his
     eyes and looked down toward his feet, then put his head back down and closed his eyes. He began to
     breathe heavily. Dr. Yen states in his testimony that he judged from 15 feet away and with no
     consciousness check that Mr. Grant was unconscious within 30-45 seconds. 3

     Mr. Grant's subsequent movements further disprove this. Dr. Yen states at one point that he judged
     Mr. Grant to be unconscious solely on the basis that he closed his eyes and wasn't "really moving a
     lot,''4 neither of which demonstrates unconsciousness. He states that he agrees with the statement
     that "you can't be conscious and be unable to move muscles". Studies have shown that awareness in
     the operating room is rarely associated with movement. In one study that included both paralyzed
     and unparalyzed patients, less than 2% of patients who were aware actually moved, even if they
     were not paralyzed. 5

     1 minute after administration: Approximately 1 minute after the beginning of the drug
     administration, as documented in the correction official's notes and as testified to by both Ms.

1
  Note that times recorded automatically on the EKG monitor are 13 minutes ahead of times recorded by the witnesses and
at the time of death. I have taken this into account in my timeline, and have used the recorded time of death of 16:21 as an
indication that the EKG machine "clock" ran 13 minutes ahead of actual time.
2
  Deposition of Meghan Francois, p 6
3
  Deposition of Dr. Ervin Yen, p 229
4
  Deposition of Dr. Ervin Yen, p 230
5 Domino KB, Posner KL, Caplan RA. Awareness during anesthesia. A closed claims analysis. Anesthesiology 1999;

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     Gardner, and Dr. Yen, the patient's airway began to partially obstruct. The signs of airway obstruction
     are clear. The handwritten note indicates that the inmate was "making noises". Ms. Gardner described
     that as Mr. Grant took deeper breaths, and his chest was still rising (so we know the airway was not
     yet fully obstructed) but he was having to make increasingly strong efforts to breath. Due to negative
     pres~ure in his chest resulting from his attempts to breathe against partial airway obstruction, he was
     also rn the early stages of flash pulmonary edema. The EKG/pulse oximeter strips support this,
     demonstrating a decreasing oxygen saturation in Mr. Grant's blood at this time despite air movement.

     It should be noted also that there is motion artifact present on the pulse waveform, along with failure
     of the pulse oximeter to correlate with the EKG, indicating he was moving. The actual readings
     recorded from the pulse oxirneter (81 at 1 minute after injection of midazolam and of 73 at 2 minutes)
     are unreliable, because 1) there is obvious motion artifact on the tracing and it fails to follow the EKG,
     and 2) even more importantly, pulse oximetry readings in the low 80's and below do not correlate with
     measured oxygen levels in the blood.6 However, both values would still be compatible with
     consciousness.7

     Ms. Gardner stated that Mr. Grant began "gulping" air and his efforts to breathe became more
     pronounced and frantic . Ms. LaFrancois corroborates this, stating that at this point his breathing
     became " labored" and he began to cough, and he lifted his head off the gurney. Dan Synder reported
     that "his entire back lifted repeatedly off the gurney. 8 These types of movements are typical of patients
     with airway obstruction, including obstruction due to asthma, for example, and are part of efforts to
     reopen the airway. However, at this point, midazolam had caused the muscles in the upper airway (the
     tongue, the larynx, the glottis) to collapse, and had more than tripled the "work of breathing"- i.e. the
     amount of physical effort it takes to move air9 ; the airway obstruction progressed despite his efforts to
     breathe.

     1-8 minutes: A few seconds thereafter, Ms. Gardner, Ms. Francois and Dr. Yen all agree that the Mr.
     Grant began making active movements, at times during the execution lifting parts of his body off of
     the gurney. 10, 11 , 12, 13 These movements were restrained by straps around his chest and arms. Ms.


6 Chiappini F, Pistelli LF. Accuracy of pulse oximeter in the measurement of the oxyhaemoglobin saturation. Eur Resp J
1998; 11 :716-9
7 Shaw D, et al. Hypoxic hypoxia and brain function in mi litary aviation: basic physiology and applied perspectives. Front

Physiol 202 1; 17:12:665821
8 Synder D. A minute-by-minute account of John Grant's death as told by witness of executions. Fox 25. KOH, Oklahoma

City. Available at: https://www .msn.com/en-us/news/crime/a-m inute-bv-minute-account-of-john-grants-death-as-told-by-
witness-o f-execution/ar-AAQ4 FbF Accessed Feb 10, 2022
9Montravers P, et al. Effects of intravenous midazolam on the work of breathing. Anesth Analg 1994;
79:558-62
10
   Deposition of Dr. Ervin Yen, p 232
11
   Deposition of Julie Garner, pp 16, 17
12 Eyewitnesses report John Grant experienced repeated ' full body convulsions' and vomited during execution; Oklahoma

says execution was carried out 'without complication' . Death penalty information center. October 29, 202 1. Available at:
https://deathpenaltyinfo.org/news/eyewitnesses-report-john-grant-experienced-repeated-full-body-convulsions-and-vomited-
during-execution-oklahoma-says-execution-was-carried-out-w ithout-complication Accessed Feb 20, 2022
13 Snyder D. A minute-by-minute account of John Grant's death as told by witness of execution. Thursday Oct 28'\ 202 1.

A vai !able at: https :// deathpenalty info. org/news/eyewitnesses-report-j ohn-grant-experienced-repeated-ful 1-body-
convulsions-and-vom ited-duri ng-execution-ok lahoma-says-executi on-was-carried-out-without-comp Iication Accessed Feb
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     Gardner s~t~s that ~. Gr~t began to vomit and "gasp for air" and states "I'd never seen anybody
     gasp for air like that m my hfe." 14 She states further in her affidavit that "he turned his head to the
     right and started vomiting." 15 According to the DOC service log, Mr. Grant began to vomit. All of the
     witnesses corroborate that vomit covered his face, then began to run down his neck and the side of his
     face, and also to the floor. After guards wiped the vomit off of his face, he began to convulse and
     vomited again. 16 Dan Snyder, anchor for Oklahoma City Fox News stated: "Almost immediately after
     the drug was administered, Grant began convulsing, so much so that his entire upper back repeatedly
     lifted off the gurney. As the convulsions continued, Grant then began to vomit." Multiple times over
     the course of the next few minutes medical staff entered the death chamber to wipe away and remove
     vomit from the still-breathing Grant." 17 Meghan Lefrancois states in her affidavit "I remember one
     specific point when Mr. Grant's back lifted dramatically up off of the gurney." 18

     Mr. Grant was strapped flat on his back to the gurney and, unable to clear the vomitus out of his
     airway, which was by this time running down the right side of his face and shoulder. During his gasps
     for air witnesses corroborate that the vomitus was visibly being sucked back in to his airway with his
     breaths, where it contributed to airway blockage below the glottis (deep in the back of the throat and
     trachea), and at this point he began to drown in his own vomit. Later fmdings by the medical
     examiner would show that Mr. Grant had actually sucked the vomitus all the way into the lower
     reaches of the airways (bronchi) during his strenuous efforts to breathe.

     Dr. Yen states that he felt that this was passive regurgitation, which is belied by all of the other
     eyewitness descriptions as well as by standard medical terminology. Regurgitation is passive leakage
     of stomach contents into the esophagus as the lower esophageal sphincter relaxes. Vomiting, on the
     other hand, is the forceful retrograde expulsion of gastric contents from the body. It involves active
     propulsion of stomach contents and muscular contraction of the stomach 19, all of which were
     witnessed by multiple eyewitnesses at the time.

     Mr. Grant raised his head off of the gurney during this episode of vomiting, and was retching and
     coughing so severely that several eyewitnesses termed his ''violent" movements "convulsions". Ms.
     Gardner states that he also appeared to be choking.

     More than 4 minutes after vomiting began, and 6 to 8 minutes after the beginning of the execution, the
     vomiting continued, and Ms. Gardner noted "labored breathing". At this point, the airway collapse is
     complete, the sensations of suffocation and drowning were accelerating, and efforts to breathe became

14
   Deposition of Julie Gardner, p 10
15 Declaration of Julie Gardner dated 11/17/21
16 Eyewitnesses report John Grant experienced repeated 'full body convulsions' and vomited during execution; Oklahoma

says execution was carried out 'without complication'. Death penalty information center. October 29, 2021. Available at:
https://deathpenaltyinfo.org/news/eyewitnesses-report-john-grant-experienced-repeated-full-body-convulsions-and-vomited-
during-execution-oklahoma-says-execution-was-carried-out-without-complication Accessed Feb I 0, 2022
17 Snyder D. A minute-by-minute account of John Grant's death as told by witness of execution. Thursday Oct 28th, 2021.

Available at: https://deathpenaltyinfo.org/news/eyewitnesses-report-john-grant-experienced-repeated-full-body-
convulsions-and-vomited-during-execution-oklahoma-says-execution-was-carried-out-without-complication Accessed Feb
10, 2022.
18 Affadavit of Meghan Francois dated Nov 17, 202 I
19Schiff, JH et al. Complications of managing the airway: vomiting, regurgitation and aspiration. IN; Hagberg and

Benumofs Airway Management. 4th Ed. Elsevier Inc, Philadelphia PA. 2018. P868-89
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     more and more futile. The EKG tracings show continued heartbeat, and an oxygen saturation value of
     4~ ~ppears o~ one strip (still compatible with consciousness). There is no pulse oximetry tracing,
     ra1smg questions about motion artifact. However, aspiration of stomach contents can cause rapid
     oxy_gen desaturation.

     Two members of the execution team entered the room and attempted to clean the vomitus out of Mr.
     Grant's airway and then left the room. He vomited again. A male member of the execution team
     entered the chamber again to clean his face. Ms. Lafrancois, Ms. Gardner and Dr. Yen all agree that
     Mr. Grant turned his headfrom its position facing right, to a position facing left, and his shoulder
     moved as he did so, showing that he was still sensate and still trying to clear his airway, but his efforts
     were getting weaker. Ms. Gardner states: "As the man entered, Mr. Grant raised his head and turned it
     towards us (to his left). He also tried to raise'move his shoulder but it was strapped down."20 The
     man turned Mr. Grant's head to face up and midline, an action that would result in more vomitus
     entering his airway. This moment is corroborated by Dan Synder of Oklahoma City Fox News, who
     stated: "Multiple times over the course of the next few minutes medical staff entered the death
     chamber to wipe away and remove vomit from the still-breathing Grant."21 .No maneuvers resembling
     a consciousness check were observed by Ms. Gardner, Ms. Lafrancois, Dr. Yen, or media
     eyewitnesses.

     16:15: At this point, according to the DOC service log, a member of the execution team declared that
     Mr. Grant was unconscious, although Ms. Gardner and Mr. Snyder state that Mr. Grant was still trying
     to breathe, a purposeful movement (turning his head away from the side of vomit) had occurred
     seconds before, and no consciousness check was witnessed by anyone who has given an account of the
     execution, including witnesses of the defendants, with the exception of Mr. Farris who has no medical
     training and was the DOC official present in the execution chamber.22 He claimed a brief
     consciousness check was done that included looking at the eyes and doing a "sternal rub" which he
     does not describe. In contrast with all other events attested to during the execution, no other person
     testifying about the events corroborates his statement. In fact, at this point, Mr. Grant's movement to
     clear his airway should have been taken as a sign of consciousness. 23

     According to the DOC service log, injection of syringes 4A, SA, 6A, 7A, 8A, and 9A proceeded from
     16:15 to 16:19. The prescripted contents of these syringes was vecuronium, saline flush and potassium
     chloride, in order.

     Also at 16:15, according to the DOC service log, vecuronium administration started, and Ms. Gardner
     noted that at this point, Mr. Grant exhaled deeply, his mouth opened, and his chest "settled", and his
     efforts to breathe abruptly stopped. In under 60 seconds the maximum clinical effect of vecuronium
     was reached. Mr. Grant was no longer able to move or breathe by 16:16, as evidenced by a lack of
     respiratory movement and pulse oximeter tracing, although he was almost certainly still sensate.

20 Aft'adavit of Julie Gardner, Nov 17, 2021
21
   Snyder D. A minute-by-minute account of John Grant's death as told by witness of execution. Thursday Oct 28th, 2021.
Available at: https://deathpenaltyinfo.org/news/eyewitnesses-report-john-grant-experienced-repeated-fu.11-body-
convulsions-and-vomited-during-execution-oklahoma-says-execution-was-carried-out-without-complication Accessed Feb
10,2022
22
   Richard E. Glossip et al. v. Randy Chandler et al. Transcript for motion of preliminary injunction before the Honorable
Stephen P. Friot United States District Judge January. IO, 2022 p 189.
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      Dr. Yen has testified that he believed Mr. Grant was dead ''well before 11 minutes,"24 (this would also
      be before vecuronium and potassium administration was complete), which is an astounding statement
      to make, particularly since Dr. Yen was 15 feet away and did not conduct any examination of the
      prisoner for signs of life. And he is wrong. The DOC service log indicates that Mr. Grant was alive
      for another 5 minutes, and the EKG strips recorded during Mr. Grant's execution document that his
      heart stopped and death occurred merely a few seconds before the time of death was declared at 16:21,
      calling into question Dr. Yen's interpretation of what he witnessed.                      ·

VI.      Expert Opinions and Their Bases


Summary Opinion: In my expert opinion the Oklahoma protocol as demonstrated by the recent
executions in 2021 and 2022 is virtually certain to cause the prisoner to be aware ofsevere pain and
noxious stimuli, such as sensations of drowning, suffocation, terror, and searing pain with iniection
ofpotassium chloride, while simultaneously paralyzing him or her so that there are few or no
outward signs ofpain and suffering.


      The above-referenced summary opinion is supported by the underlying opinions and the bases
      therefore set forth below:

      A. Movements of the prisoners during their executions, such as the movements of John Grant
         during a recent Oklahoma execution, are not "reflexes" but rather demonstrate pain and
         suffering throughout the execution.                                                  ·

       Before the administration of muscle paralytic agents, and sometimes even during the onset of
       muscle paralysis, the extreme pain experienced during lethal injection executions has still
       stimulated some of the prisoners to make visible movements, which have been reported by the
       media and by other eyewitnesses. The vast majority of patients who are nevertheless aware, and
       even have recall under general anesthesia will not move, many of them even if they are not
       paralyzed and able to do so.25 Eyewitnesses to midazolam executions have described convulsions,
       vocalizations, paradoxical motion of the abdomen, jerking of the body up and off of the gurney,
       coughing, choking, active vomiting and volitional turning of the head to clear the airway. These
       movements are not consistent with spinal reflexes, and clearly support the findings of the studies
       cited throughout this report. They demons~ate the prisoners' response to painful and excruciating
       feelings due to respiratory distress, sensations of drowning and searing pain during P.~tassium
       chloride injection.                                                                   {_

       In John Grant's case, his movements demonstrated his struggle for air and sensations of drowning
       as he experienced the onset of airway obstruction, pulmonary edema, and the aspiration of
       stomach contents deep into his lungs.


24
  Deposition of Ervin Yen, p 238
 Domino KB, Posner KL, Caplan RA. Awareness during anesthesia. A closed claims analysis. Anesthesiology 1999;
25

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      Many other executions using midazolam also show movements indicative that the inmate was
      sensate during respiratory distress. The above-referenced movements of John Grant are examples
      of such movements indicative of being sensate, but there are numerous other examples in
      executions involving 500 mg administration of rnidazolam.

      During the execution of Willie Smith in Alabama, which uses a 3-drug protocol consisting of
      midazolam, rocuronium, and potassium chloride, Spencer Hahn testified that he saw movements
      such as his arm jerking upward with injection of midazolam, his torso "bucking" off of the gurney
      and attempts to breathe that continued right up until the paralytic agent was given.

      Hahn also witnessed the Alabama execution of Ron Smith, also using a 3-drug protocol consisting
      of midazolam, rocuronium and potassium chloride. He saw similar movements, and gasping "like
      a fish". After 500 mg of midazolam, Ron Smith failed to pass the consciousness check which
      consisted only of mild stimuli: calling the name, touching the eyelid and pinching the skin.
      Despite a second 500 mg dose ofmidazolam Ron Smith again failed a consciousness check and
      responded to a light stimulus (skin pinch), but the execution proceeded nevertheless.26

      During the recent execution of Billy Ray Irick, using the same 3-drug protocol including
      midazolam employed by the state of Oklahoma, a witness described that, around "two minutes
      later", after the consciousness check, "Irick did appear to react physically to the second drug
      (vecuronium). He jolted and produced what sounded like a cough or choking noise. He moved
      his head slightly and appeared to briefly strain his forearms against the restraints." 27

      During the execution of Donnie Johnson, also using the same 3-drug protocol including
      midazolam that is used in the state of Oklahoma, he opened his mouth wide, made gurgling
      sounds for about 3 minutes, and then a higher-pitched gasp, according to one eyewitness.28

      Jacob Rosenberg of The Guardian, for example, described the movements he witnessed of Marcel
      Williams in his execution in Arkansas (which employed the same 3-drug protocol involving
      midazolam used in the state of Oklahoma). He stated that during the execution, which began at
      10:16pm: "[H]is back arched off the gurney as he sucked in air. I could not count the number of
      times his body moved in such a way, rising off the gurney. Protocol dictates that five minutes
      after the introduction of midazolam there should be no movements. But, at 10:21pm, Williams
      was still breathing heavily and moving."29

      In the execution of Kenneth Williams in Arkansas, using the same 3-drug protocol including
      midazolam used in the state of Oklahoma, Kelly Kissel from the Associated Press stated that

26 Deposition of Spencer Hahn, page 45.
27 Hale S. The execution of Billy Ray Irick. Nashville Scene. Aug 10, 20 I 8. Available at:
https ://www.nashv iIlescene.com/news/pith inthewind/the-execution-of-bi Ily-rav-irick/article ef6c7 I 8d-bc Ic-550f-926c-
e68eb7 fd9891.htm I Accessed Feb 10, 2022
28 Tamburin A, Burgess K. 'No more dying there': death row inmate Don Johnson sang hymns as lethal drugs took effect.

Commercial Appeal. May 17, 2019. Available at: https://www.commercialappeal.com/story/news/20 19/05/17/donnie-
edward-johnson-Oklahoma-execution-lethal-injection/36854 17002/ Accessed Feb I 0, 2022
29 Rosenberg J. Arkansas executions: ' I was watching him breathe heavily and arch his back.' The Guardian, April 25, 2017.

Avai lab le at: https://www .theguardfan.corn/us-news/20 17/apr/25/arkansas-execution-eyewitness-marcel-wi 11iarns Accessed
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      Williams "lurched 15 times in quick succession, followed by five slower lurches, three minutes
      after the sedative midazolam was introduced." Two other witnesses, Donna Terrell of Fox 1630
      and Knowles Adkisson of the Pine Bluff Commercial, corroborated the account. Donna Terrell
      stated that there "was a lot of heavy chest pumping and sounds coming out and the microphone
      was turned off and we could still hear. it." 31 She further stated that even while Kenneth Williams
      continued to make sounds, the attendant carried out a "consciousness check" and that the heavy
      breathing continued.

      Comparison of the movements observed during the executions of these men to the movements
      that occur in dying patients, "spinal" reflexes, "posturing" , and "agonal respirations", clearly
      demonstrates that the movements were not "reflexes" and represent continued efforts to breathe
      despite airway obstruction right up to the point of chemical paralysis.

      Involuntary "Spinal" Reflexes.

      The term "involuntary reflexes" is actually not specific and can refer to several different types of
      movement in response to a given stimulus. Tapping your knee with a doctor's reflex hammer
      results in a little "kick" of the leg, for example. The "stimulus" for the reflex is a tap on a small
      tendon that runs between the kneecap (patella) and the tibia. The tap sharply stretches the tendon
      briefly, and nerve receptors detect the stretch and send a signal to the spinal cord, when then
      reacts locally in the low spine to send a signal back to kick the leg. The reflex does not involve
      any arcs in the brain, and therefore does not require nor indicate consciousness. Its primary
      purpose is to provide quick responses in the legs to changes in posture, balance, and leg
      coordination. Such movements require an inciting, usually specific stimulus, and are quick,
      isolated movements generally in only 1 or 2 muscle groups at a time (the knee extensor muscles
      in our example case). They are not generalized movements throughout the body. Spinal reflexes
      occur in both the presence and absence of consciousness. These generally quick, isolated
      muscle movements are very different than movements observed in the recent executions, which
      included "heaving", "convulsing", and raising up off of the gurney, all involving large muscle
      groups, and those particularly involved in respiratory distress, or in expressions of aversion.


      Head Turning in Brain Death


      Dr. Antognini has attempted to equate movements seen in the executions to "reflexes" seen in
      brain dead patients. Brain death is irrelevant to the topic of lethal injection executions: prisoners
      are not brain dead. In making this comparison, Dr. Antognini appears to think that if you are
      unconscious your nervous system works the same way would have the same reflexes that are
      present in a brain dead body. But unconscious brains behave very differently than dead brains



30
   DeMillo A, Kissel K. Inmate convulses during deadline-beating execution, Arkansas' 4th in 8 days. NBC Miami. April
28, 2017. Available at: https://www.nbcmiami.com/news/national-intemational/arkansas-executes-4th-inmate-finishes-
lethal-iniection-schedule/l 988323/ Accessed Feb 10, 2022
31
   Interview of Donna Terrell who witnessed Kenneth Williams' execution. April 27, 2017. Video available at:
https://www.youtube.com/watch?v=BYt3eZZo HE Accessed Feb 10, 2022
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       (indeed if that were not so, we would simply be able to declare that anyone who is unconscious is
       dead).

      Brain dead bodies do sometimes demonstrate stereotypical, repetitive movements that are spinal
      cord mediated called "spontaneous reflex movements" or SRMs. These movements can include a
      stereotypic type of repetitive head turning. The Wu article 32 referenced by Dr. Antognini was a
      letter describing a case of head turning in a presumably brain-dead patient, which the authors
      admit may not be due specifically to spinal cord reflexes, and may involve brain-centered
      mechanisms (which by definition cannot occur in brain dead bodies). Researchers who have
      studied SRMS, including authors cited by Antognini, agree that SRMs likely occur precisely
      because the brain is dead, and because brain activity that would otherwise be present isn't
      suppressing signals in the spinal cord that cause these movements. 33 •34•35

      Posturing

      In patients who have suffered injury in the brain, more complex, stereotypic movements can
      occur in multiple muscle groups at once in response, generally, to painful stimuli. These
      movements are widespread and cause the body and/or limb position to change in a very
      predictable way. Typically, the patient appears to lie unconscious, but when pinched on the foot,
      for example, simultaneously stretches all limbs slightly, turning the wrists down toward the
      mattress, pointing the toes toward the mattress and arching the head and neck slightly back. In a
      slightly different type of posturing, the toes are pointed down and the arms held tightly bent at the
      elbows up on the chest.

        Because these postures were first described in patients in coma, they were termed "decerebrate"
      or "decorticate" posturing, and they were believed to indicate a lack of activity in the cortical (i.e.
      "thinking") areas of the brain and therefore to indicate a loss of awareness or consciousness -a
      misconception that persists among many experienced anesthesiologists and other clinicians. Even
      early on, clinicians reported that many patients with decerebrate/decorticate posturing were
      conscious. 36•37•38 •39•40•41 Largely due to the development of advanced neuroimaging (e.g. magnetic
      resonance imaging [MRI] and positron-emission tomography [PET scanning]), we now know that
      decerebrate and decorticate posturing is not indicative of unconsciousness, and have been clearly
      demonstrated in conscious people. Moreover, MRI scans demonstrate preserved consciousness in
      patients with decerebrate/decorticate posturing who are unable to interact with their

32
   Wu Y, Balaguer PO. Spontaneous and reflex head turning in brain death. Crit Care 2013; 17:440.
33
   Saposnik G et al. Movements in brain death: a systematic review. Can J Neurol Sci 0209; 36: 154-60
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   Jain Sand DeGeorgia M. Brain death-associated reflexes and automatisms. Neurocrit Care 2005; 3:122-6
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   Wu Y, Balaquer PO. Spontaneous and reflext head turning in brain death. Crit Care 2013; 17:440
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   Halsey JH, Downie AW. Decerebrate rigidity with preservation of consciousness. J Neurol Neurosurg Psychiatry. 1966;
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   Feldman H. Physiological observations in a chronic case of "locked-in" syndrome. Neurology 1971; 21 :459-78
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   Pattisapu J, Smith RR, Bebin J. Traumatic decerebracy with preserved consciousness and voluntary movement.
Neurosurgery 1985; 16:71-4
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   Mahapatra AK, Bhatia R. Preservation of consciousness in a decerebrating head injured patient. J Assoc Physicians India
1990; 38:305-6
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   Damasceno BP. Decerebrate rigidity with preserved cognition and gait: a possible role of anoxic-ischemic brain damage.
Intj Neurosci 1991; 58:283-7
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   Kao CD, Chen JT, Lai KL, et al. Gabapentin for decerebrate rigidity: a case report. Clin Drug Invest 2008; 28:67-70
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                                                                                                                       11

         environment.42 Patients with decerebrate/decorticate posturing must be presumed conscious
         unless proven otherwise. 43

           Changes in facial expressions, blinking, breaj:hing, moaning, opening and closing the mouth,
         moving the eyes or lips, lurching, convulsing, vomiting and other movements seen in prisoners
         during execution by lethal injection using midazolam are not elements of decerebrate or
         decorticate posturing.


        Agonal Respirations/Cheyne-Stokes Breathing/Gasping

           A number of changes in breathing occur in patients who have abnormal brain function,
         including drug-induced sleepiness, traumatic brain injury, and lack of oxygen to the brain.
         Cheyne-Stokes breathing is a pattern of respirations in which breathing first becomes faster and
         deeper, then gradually shallower and slower, until breathing stops altogether, but then resumes
         spontaneously after a period of no breathing. The pattern repeats over and over, usually follows a
         cycle of 30- seconds to 2 minutes. It is not an indicator of unconsciousness, and can occur in
         either conscious or unconscious patients. When this pattern occurs in conscious patients, the
         patients also report symptoms of shortness of breath, and inability to "get enough air" but despite
         this, they "don't just breathe" to relieve the sensations.44

           Agonal respirations, a different type of breathing that can occur in dying patients, is also known
         as "terminal gasping" and appears to occur in all mammalian species. The respiratory center in
         the medulla of the brain begins to fire in response to decreased oxygen, forcing gasping
         movements involving contraction of the diaphragm. These contractions are not believed to be
         conscious or voluntary. The mouth is open during agonal respirations, and air movement into the
         mouth and trachea in response to these contractions may lead to short, brief sounds that resemble
         hiccups. Longer moaning, sighing, turning of the head, movements of the arms or other areas of
         the body are not consistent with agonal respirations.

         The sequence of events in human asphyxiation (strangling or suffocation) has been established
         through study of filmed hangings (suicides, autoerotic accidents, homicides, and executions).
         Agonal respiratory movements are very short-lived, and prolonged agonal respirations do not
         occur.45,46 Prolonged efforts to breathe during lethal injection executions do not represent agonal
         reflexes.


42
     Kao CD, Guo WY, Chen JT, Wu ZA, Liao KK. MR findings of decerebrate rigidity with preservation of consciousness.
Am J Neuroradiol 2006; 27: 1074-5
43 Latronico N, Antonini L, Taricco M, Vignolo LA, Candiani A. Approach to the patient in vegetative stat: part II:
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   Sauvageau A, LaHarpe R, Geberth VJ, et al. Agonal sequences in eight filmed hangings analysis of respiratory and
movement responses to asphyxia by hanging. J Forensic Sci 2010; 55:1278-81
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   Sauvageau A, LaHarpe R, King D, et al. Agonal sequences in 14 filmed hangings with comments on the role of the type
of suspension, ischemic habituation, and ethanol intoxication on the timing of agonal responses. Am J Forensic Med Pathol
2011; 32:104-7
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                                                                                                         12

      Respiratory efforts in a conscious patient with an obstructed airway, in contrast to agonal
      respirations, are characterized by forceful efforts to breathe that lead to minimal or no air passage
      (because the upper airway is obstructed). This results in something called "chest-abdominal
      paradox,"47 a phenomenon well-recognized by anesthesiologists and sleep medicine specialists as
      a physical sign that the airway is blocked. This is not a terminal breathing pattern or "dying
      reflex".

      In normal, unobstructed respiration while laying supine (on one's back) dwing inspiration, the
      diaphragm contracts downward into the abdomen. The abdomen rises because the diaphragm
      pushes the abdominal contents upward. At the same time, the movement of the diaphragm creates
      a vacuum in the chest, and under normal circumstances air rushes in through the trachea to fill the
      extra space created in the chest when the diaphragm contracts. Thus, the chest rises together with
      the abdomen as the chest expands with the inrushing air. In chest-abdominal paradox, however,
      the movements of the chest and abdomen become disconnected. The diaphragm contracts,
      moving into the abdomen and pushing the abdominal organs upward, causing the abdomen to
      rise. But the upper airway is obstructed and no air enters the chest. As the diaphragm pulls down
      into the abdomen, the vacuum it creates sucks the chest wall down with it. In this sequence the
      chest collapses inward while the abdomen is rising-giving the appearance of the chest and
      abdomen rocking opposite of one another, or a heaving abdomen. If the sequence continues,
      recruitm~nt of chest wall muscles to breathe more forcefully and pull air into the chest causes the
      chest to rise, but again no air is entering the chest because the upper airway is obstructed. This
      motion causes the vacuum in the chest to increase, overcoming the pull of the diaphragm
      downward. The diaphragm is then "sucked" back toward the chest to fill the space where air
      should go, and the abdominal organs fall inward and are sucked upward toward the chest as well.
      The chest rises, but at the same time the abdomen collapses inward, and rocking in the opposite
      direction occurs. This gives rise to a "heaving" motion, which increases as the efforts to breathe
      become more and more violent. The sequence repeats, often with increasing recruitment of
      accessory muscles, and deepening of the heaving, until either the airway opens, or the muscles
      finally lose strength and then cease to move altogether.

      None of the descriptions above of the eyewitnesses to lethal injection executions is
      compatible with dying "reflexes". The movements are, however, classic for active efforts to
      breathe against a closed upper airway and consistent with both chest-abdominal paradox,
      and voluntary movements in a sensate inmate feeling the onset of paralysis, suffocation or
      drowning in vomitus during the development of pulmonary edema.

      In some executions, inmates have demonstrated far less dramatic movements than those
      described above. However whether there is movement or lack thereof, human studies show
      that midazolam does not make the inmate insensate, and so-called consciousness checks will
      not be able to detect that consciousness is present.




47
  Berry R. Monitoring respiration-event definition and examples. In: Fundamentals of Sleep Medicine.
Saunders/Elsevier Inc. Philadelphia PA. 2012. pp 119-140
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                                                                                                                            13

     B. Midazolam is not an anesthetic and it has been shown repeatedly in human studies that it
        does not as a solo drug prevent awareness or responsiveness when severely painful stimuli
        are applied. It will not render an inmate insensate to severe pain.


     Midazolam is a member of the benzodiazepine class of drugs, which are used primarily as
     sedative/hypnotic (sleep-producing) agents. Midazolam has no analgesic (pain-relieving)
     properties. This is not opinion, but scientific fact, as is confirmed by all authoritative texts, as
     well as an extensive literature.48•49 To quote Goodman and Gillman, one of the most authoritative
     texts in clinical pharmacology and therapeutics in the world:

                 "Although the clinical literature often refers to the 'anesthetic' effects and
                 uses of certain benzodiazepines, these drugs do not cause a true general
                 anesthesia; awareness usually persists, and a failure to respond to a
                 noxious stimulus sufficient to allow surgery cannot be achieved." [my
                 italics]

     As a solo drug, administration of midazolam does not and cannot render a person insensate or
     result in a state of general anesthesia, which is defined as a combination of analgesia or
     "antinociception" (lack of pain), amnesia (lack of recall), lack of awareness, and immobility with
     significantly painful or noxious surgical stimulation. 50 I know of no reputable anesthesiologist
     who would rely on it as a sole drug for general anesthesia for a significantly painful procedure. In
     fact, anesthesiology researchers have determined that it is useful only as a sedative for minor
     procedures. It is used, albeit rarely, as a solo sedative51 in some low-discomfort procedures such as
     colonoscopy-which is of such low stimulus that it is performed in the majority of patients in the
     United States without any sedation at all. 52 In the vast majority of those cases that do involve the
     use of midazolam, it is combined with a powerful narcotic, such as fentanyl. The use of
     midazolam in such procedures is predicated note on the theory that midazolam will perform as a
     solo anesthetic, but rather to prevent the patient from remembering any pain they experience.

     Midazolam is best known for its amnestic effect-Le. its ability to repress memory, and this effect
     was a subject of significant interest even before its approval by 1988. Recent studies find that
     midazolam, when administered in the preoperative holding area increases amnesia for the
     preoperative holding area and/or the operating room53 •



48
   Hemmings HC Jr, Egan TD. Pharmacology and physiology for anesthesia. Sanders Inc 2013. pp 144-6
49
   Mihic SJ, Mayfield J, Harris RA. Chapter 19: hypnotics and sedatives. IN: Brunton L, Hilal-Dandon R, Knollmann BC,
Ed. Goodman and Gillman's the Pharmacologic Basis of Therapeutics 13t11 Ed McGraw-Hill Education. 2018.
so Brown, EN, Purdon PL, Akeju 0, Solt K. Monitoring the state of the brain and central nervous system during general
anesthesia and sedation. IN: Miller's Anesthesia. Gropper MA, Miller RD, Eds. Elsevier Inc, Philadelphia PA. 2021.
pl279
51
   "Sedative" differs from general anesthesia in that the patient is drowsy, and may even lightly sleep, but is arousable with
stimulation, and will move and respond. Under general anesthesia, there patient does not respond to even severe stimulus,
although they may still be aware.
52
   Hoffinan MS, ButlerTW, Shaver T. Colonoscopy without sedation. J Clin Gastroenterol 1998; 26:279-82
53
   Chen Y, Cai A, Dexter F, et al. Amnesia of the operating room in the B-Unaware and BAG-RECALL clinical trials.
Anesth Analg 2016; 122:1158-68
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     The intended and unintended effects of midazolam are highly dependent on factors related to the
     pharmacokinetic characteristics of the drug (how quickly is it metabolized, and/or redistributed to
     places in the body, such as fat, where it will have no pharmacologic [clinical] effects)· the method
     of administration of the drug; the individual to whom it is administered; and severity ~fthe
     surgical or other stimulus applied

     When the FDA approved use of midazolam, it issued approval for its use as "an" anesthetic
     induction agent, not "the" anesthetic induction agent. It furthermore did not approve the drug as
     an "anesthetic" agent-for use to maintain general anesthesia. The FDA states that is allowable to
     administer midazolam for induction of anesthesia before administration ofother anesthetic
     agents, 54 and merely states in packaging that it can be the first of several drugs administered during
     anesthetic induction.55 In other words, it is permitted by the FDA for midazolam to be used in
     combination with narcotics, sedatives, and hypnotics (sleep-inducing drugs) such as propofol,
     barbiturates, or inhaled anesthetic agents to induce anesthesia. The FDA packaging explicitly
     states that midazolam can achieve anesthetic induction "with the use ofnarcotic premedication"
     (i.e. it needs to be combined with other anesthetic drugs) and can be used "as a component of
     intravenous supplementation ofnitrous oxide and oxygen (balanced anesthesia)."56 The FDA did
     not approve midazolam as a sole agent for induction, or more importantly, for maintenance of
     anesthesia during a severe stimulus.

     While benzodiazepines may be listed as the "cause of death" in drug overdose cases, the actual
     "mode" of death is not due to direct drug toxicity. Midazolam has no direct deleterious effects on
     cells in the body, and produces no irreversible effects, but can temporarily interfere with the
     body's normal responses, such as breathing more deeply in response to hypoxemia (lack of
     oxygen) or hypercarbia (high levels of carbon dioxide in the blood). This is in contrast to drugs
     with intrinsic lethal toxicity, such as cyanide, which irreversibly stops oxidative function of cells.
     No "fatal dose" of midazolam in humans has ever been scientifically proven,57 whereas high doses
     of anesthetics are usually lethal. Potential mechanisms of death in situations that involved
     rnidazolam administration are generally centered around respiratory issues after administration of
     midazolam in combination with other agents. Midazolam by itself causes only minimal and
     temporary slowing of breathing. In fact, as described by eyewitnesses to executions using massive




54
   US FDA Center for Drug Evaluation and Research: Approval Package for Midazolam. Available at:
https://www .accessdata.fda.gov/drugsatfda docs/nda/20 I 2/075293orig ls0 14.pdf Accessed Feb 20, 2022
55
   Ibid.
56
   Ibid.
57
   Schultz M, Iwersen-BergmannS, Andresen H, Schmoldt A. Therapeutic and toxic blood concentrations of nearly 1,000
drugs and other xenobiotics. Crit Care 2012; 16:Rl36
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                                                                                                                              15

     doses of midazolam, prisoners generally do not stop struggling to breathe until the paralytic drug is
     administered. 58,59,60,61,62

     All benzodiazepines have similar a mode of action, and generally differ from each other primarily
     in water solubility, how much pain they cause during IV injection, rapidity of onset of action,
     duration of action, and the relative potency of a milligram of drug. Most commonly prescribed in
     small doses as an anxiolytic (i.e. to reduce anxiety), midazolam has never been widely used as the
     solitary hypnotic ("sleep-producing") component in general anesthesia (which commonly entails
     the administration of 6 to 10 different drugs). There are no controlled clinical studies that involved
     the administration of 500 mg of midazolam to a human subject. In order to comment on the effects
     of midazolam as a solo drug in preventing awareness, pain, and suffering during a severely painful
     or stimulating event, we therefore have to rely in part on studies that have been done in another
     very closely related and nearly equipotent63 benzodiazepine, diazepam (also known by its trade
     name Valium), in addition to a few studies done using midazolam itself.

     Diazepam was used briefly as a primary hypnotic for heart surgery in the 1980s and early l 990s,
     with poor results even though its use was with other drugs and not as a sole drug. Due to its
     variability of onset, unreliable duration of sedative action, lack of reliable production of complete
     unresponsiveness during surgery, undesirable effects on blood pressure (hypotension), and the
     severe pain it produces when injected intravenously, valium is no longer commonly used in
     modem anesthesia practice, except perhaps in isolated geographic areas. 64 Like midazolam, the
     pharmacokinetics (how the drug is taken up, metabolized and cleared from the body) of IV
     diazepam are unaffected by dose, even at very high doses. 65 As with midazolam, prior or
     concomitant prescription or illicit drug use by the recipient can lead to cross-tolerance (requiring
     markedly higher doses to produce its usual effect), or to synergistic actions. Paradoxical reactions
     to both of these benzodiazepines are common and include delirium, combativeness, paradoxical
     fear, anxiety and panic.

     Action of Midazolam in the Brain

58
   Deposition of Spencer Hahn
59 Snyder D. A minute-by-minute account of John Grant's death as told by witness of execution. Thursday Oct 28th, 2021.
Available at: https://deathpenaltyinfo.org/news/eyewitnesses-report-iohn-grant-experienced-repeated-full-body-
convulsions-and-vomited-during-execution-oklahoma-says-execution-was-carried-out-without-complication Accessed Feb
10,2022
60
   Deposition of Julie Garner
61
   Deposition of Meghan Francois
62 Rosenberg J. Arkansas executions: 'I was watching him breathe heavily and arch his back.' The Guardian, April 25,
2017. Available at: https://www.theguardian.com/us-news/2017/apr/25/arkansas-execution-eyewitness-marcel-williams
Accessed Feb 10, 2022.
63
   Equipotency indicates that a one drug produces virtually identical effects as a different drug, usually of the same class, at
the same dose. Thus, 1 milligram of midazolam behaves in all critical ways almost identically to a 1 milligram dose of
diazepam.
64
   Author's note: in fact, because the use of a benzodiazepine as the sole hypnotic agent during induction as described in the
Oklahoma Protocol is so archaic to modem anesthesia practice, references regarding the efficacy and side effects of this
combination necessarily rely on literature :from the 1980s and 1990s. In addition, as a cardiac anesthesiology specialist, this
Expert has had past personal extensive clinical experience in approximately 750 to 1000 cases with use of benzodiazepines
as a sole hypnotic agent, a practice which was widespread in anesthesia for heart surgery in the 1980s.
65
   Ochs HR, Greenblatt DJ, Lauven PM et al. Kinetics ofhigh-dose i.v. valium. Br J Anaesth 1982; 54:849-52
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        "Neurotransmitters" are the chemicals largely responsible for transmitting information in the brain
        and peripheral nervous system. They are manufactured and stored by nerve cells and released in
        response to various conditions in the cell's environment. These chemicals can be excitatory
        (causing increased metabolic, electrical and chemical activity in the cells they reach) or inhibitory
        (reducing the metabolic, electrical and chemical activity in the cells they reach). A balance of
        excitatory and inhibitory influences govern how the brain, spinal cord and nerves will react to a
        given stimulus. The mechanisms of actions of many different "sedative" drugs on the brain
        generally fall into 2 categories: 1) enhancement of the actions of inhibitory neurotransmitters and
        2) blockade of the actions of excitatory neurotransmitters. The mechanism of action of midazolam
        in the brain is essentially confined to its effects on a single receptor, the "GABA" receptor.

        GABA (gamma aminobutyric acid) is the primary inhibitory neurotransmitter in the mammalian
        central nervous system (i.e. brain and spinal cord), and acts at specific GABA receptor sites found
        in the brain. Drugs that enhance GABA effects or that have stimulatory action on the GABA
        receptor are referred to as "GABAergic" drugs. A single receptor for GABA, the GABAA
        receptor, is the only proven site of action of midazolam in producing sedation. The drug behaves
        like a key in a lock: once the receptor is bound, no more molecules of benzodiazepines can 'join
        in". The receptor is "locked".

        These receptors are present throughout the brain and affect function in the cerebral cortex,
        thalamus and hypothalamus, and other brain structures involved in consciousness. The critical
        implications of midazolam' s actions at this receptor, on how the receptor creates a ceiling effect
        for midazolam, and on the resulting effects on consciousness, responsiveness, and recall, are
        discussed in more depth later in this report.

        Midazolam Does Not Produce Unconsciousness During Severely Painful Stimulation

        Many clinicians, even experienced and expert anesthesiologists, erroneously use the terms
        consciousness, awareness, and recall interchangeably, and/or rely on studies and data regarding
        recall when discussing consciousness and/or awareness under anesthesia.66•67 However, these
        terms mean different things, involve entirely different brain functions, and cannot be used
        interchangeably. Lack of recall does not equal lack of consciousness, and lack of responsiveness
        does not indicate unconsciousness.68

        Consciousness, Responsiveness and Recall, and Midazolam




66
     Absalom A, Nagels W. Fentanyl and midazolam anaesthesia for coronary artery bypass surgery. [letter to the editor]. Br
J Anaesth 2000; 85 :940-1
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   Russel IF. Midazolam-alfentanil: an anaesthestic? An investigation using the isolated forearm technique. Br J Anaesth
1993; 70:42-6
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   Sanders RD, Tononi G, Laureys S, Sleigh JW. Unresponsiveness* unconsiousness. Anesthesiology 2012; 116:946-59
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     In order to understand issues concerning the 3-drug protocol and why it will not prevent a prisoner
     from experiencing extreme pain and suffering during lethal injection, it is important to have an
     accurate understanding of the different concepts of consciousness, awareness, responsiveness
     and recall.

     The science of consciousness has advanced rapidly in the last five to ten years, with more and
     more functional testing of the conscious and unconscious brain now possible using technologies
     such as functional MRI scanning (tMRI). This has led to a fuller understanding of brain
     connectivity and consciousness, and what drugs that produce unresponsiveness do and do not do
     for consciousness.

     The Isolated Forearm Technique (/FT)

     Researchers into awareness under general anesthesia recognize that the "gold standard" for
     studying consciousness after injection of various "sleep" drugs during general anesthesia is the
     isolated forearm technique (IFT).69,70,71 ,72•73 In the IFT, prior to administration of a paralytic drug,
     each patient has one forearm isolated from the circulation by a tourniquet to prevent the arm from
     being paralyzed. This allows the patient to move that arm in response to commands if they are
     awake and sensate. The ability to follow a specific command (such as "move your right arm", or
     "raise your right hand") requires a high level ofconsciousness and awareness: the patient must
     hear the instruction, realize what they are being told to do (attend to the event), and carry out the
     action in the instruction. Thus, a purposeful response on the IFT incontrovertibly demonstrates a
     high level of consciousness and awareness and indicates that the individual is sensate. Conversely,
     however, a lack of response does not demonstrate that the person is unconsciousness or insensate.
     It has been demonstrated that some patients who do not move on testing with the IFT nevertheless
     can recall explicit details of the surgery. 74•75•76 Thus, movement on the IFT proves consciousness
     and awareness, but lack of movement does not mean that the patient is necessarily unconscious.

     The term "consciousness" describes a state of having a subjective experience of something.
     Consciousness can be "connected" or "disconnected." Connected consciousness-also called
     awareness-is the subjective experience of an event related to the "real world" environment in a

69
   Linassi F, Zanatta P, Tellaroli P, Ori C, Carron M. Isolated forearm technique: a meta-analysis of connected
consciousness during different general anaesthesia regimens. Br J Anaesth 2018: 121:198-209
70 Zand F, Hadavi SM, Chohedri A, , Sabetian P. Survey on adequacy of depth of anaesthesia with bispectral index and
isolated foreann technique in elective Caesarean section under general anaesthesia with sevoflurane. Br J Anaesth 2014;
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   Barker I, Deeprose C, Andrade J. Response to editorial by Davidson. Paediatric Anaesth 2003; 13:644
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guides to depth of anaesthesia. In: Jones JG, ed. Bailliere 's Clinical Anaeshtesiology, vol 3, Depth ofAnaesthesia. London:
Bailliere-Tindall 1989, ppSl 1-32
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    Russell IF, Wang M. Absence of memory for intraoperative information during surgery under adequate general
aneaaesthesia. Br J Anaesth 1997; 78:3-9
76
    Sanders RD, Tononi G, Laureys S, Sleigh JW. Unresponsiveness::;:. unconsiousness. Anesthesiology 2012; I 16:946-59
76
   Linassi F, Zanatta P, Tellaroli P, Ori C, Carron M. Isolated forearm technique: a meta-analysis of connected
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     physical, emotional, or psychological way. Awareness is present, for example, when an awake
     person savors a meal. They are having a subjective experience that is directly related to a "real
     world" occurrence. Disconnected consciousness usually occurs when we are dreaming and are
     unaware of our "real world" environment. 77 Dreams are also subjective experiences-we might
     remember them when we wake, may have intense emotional reactions to them, and may even
     respond physically to them by moving and vocalizing in our sleep-but the dreamer is not usually
     reacting to what is happening to them in the physical world. When the physical world intrudes,
     and the dreamer "awakes," they move from disconnected consciousness into connected
     consciousness-aware of and responding to their environment once again.

     Unfortunately, consciousness is often confused-even by experienced anesthesiologists-with
     responsiveness, although these terms refer to entirely different phenomena. While consciousness
     is the subjective experience of something, responsiveness is the ability to react physically to a
     conscious experience. Consciousness and responsiveness do not go hand in hand. A person can
     have connected consciousness and be sensate, and yet be unable to respond and demonstrate that
     consciousness78 - and there are many examples in and outside of anesthesia. Unresponsiveness
     can occur in a conscious person due to 1) physical impediments, such as being paralyzed by a drug
     such as rocuronium, that immobilizes the muscles so that the surgeon can work within the belly or
     chest or pelvis; 2) nonphysical impediments, such as fear or surprise, e.g. being "frozen" by terror;
     and 3) physiological problems within the brain itself, e.g. strokes and drug effects that interrupt
     outgoing nerve signals and prevent purposeful movement even though muscles are not paralyzed
     and the person is conscious of their surroundings and can feel pain (a state referred to as "locked-in
     syndrome").

     In considering the actions of a drug like midazolam during judicial lethal injection, we are
     concerned primarily with "connected consciousness"-the subjective experiences of the prisoner
     in his/her physical environment-such as whether they are able to experience pain or other
     sensations such as suffocation, despite being unresponsive. A lack of responsiveness in no way
     indicates a lack of connected consciousness, as a vast amount of human research now shows.

     The scientific concept of consciousness in all of its forms is difficult to identify at best. Many
     definitions of consciousness emphasize the activity in the cortices of the brain (rather than the
     brainstem which controls more or less spontaneous functions, such as breathing and heartbeat,
     among others) in which a wide variety of information is integrated in a manner that is
     "irreducible," meaning the brain cannot ignore aspects of it. As one author describes it "when you
     open your eyes ....you can't simply choose to see everything in black and white"-the brain
     integrates into your experience all of the colors (presuming that you have normal vision). 79 The
     brain weaves together multiple sensory experiences, together with the thoughts, emotions, and
     reactions that the experiences elicit in the cortices of the brain, and presents it to the person in one
     seamless event.

77
   The special case of "lucid" dreaming is a state in which a person is dreaming, but probably does have connected
consciousness. They are aware they are dreaming, and can communicate to the external world. It is not known if they will
take commands and much more research is needed to fully define this state of consciousness as either connected or
unconnected.
78
   Sanders RD, Tononi G, Laureys S, Sleigh JW. Unresponsiveness if; unconsciousness. Anesthesiology 2012; 116:946-59
79
   Koch C. What is consciousness? Scientific American. June 1, 2018. Available at:
https://www.scientificamerican.com/article/what-is-consciousness/ Accessed July 9, 2018
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     The "cortex" of the brain (the so-called "gray matter" that makes up a large part of the brain and
     gives the brain its traditional shape) has traditionally been thought of as ruling thought,
     consciousness, and responsiveness. However, it turns out that much deeper core brain structures
     and their interactions with the cortex are equally critical to consciousness. Much of the current
     research regarding mechanisms of consciousness focus on the thalamus and other structures, such
     as the amygdala.

     The thalamus lies buried deep within the core of the brain and is responsible for receiving and
     selecting among the billions of bits of data and sensory input received by the nervous system every
     moment. It processes data and sensory input by selecting some and rejecting others, and then
     connects with the cortex as well as arousal centers deeper in the brain to integrate consciousness of
     and responsiveness to those inputs. The thalamus thus behaves much like a giant, multimodal
     switching center in a hugely complex railyard of electrical signals and inputs, sending millions of
     signals at nearly the speed of light along some tracks to the cortex and others along different tracks
     to arousal centers or other areas of the midbrain for processing, and sometimes simply allowing
     some signals to be extinguished. Along the way, the signals that travel the tracks are amplified or
     dampened by additional signaling and chemicals in the brain. Interference with signal
     transmission in the thalamus does not appear to affect consciousness, but does affect
     responsiveness. Strokes that affect this area of the brain, for example, can cause "locked in"
     syndrome, in which the patient is fully conscious and aware, but is unresponsive, even though their
     muscles are not paralyzed. Such patients appear to be unconscious even though they may be fully
     aware, and can be mistakenly diagnosed as having coma, or even brain death. 80

     Experiments have shown that during deep, dreamless sleep, connections and relays between the
     thalamus and the cortex break down. In dreaming sleep (so-called REM sleep for the Rapid Eye
     Movements seen in dreaming subjects) cortico-thalamic connectedness looks essentially the same
     as the connections during full wakefulness. Intact cortico-thalamic connectedness, for all intents
     and purposes, indicates consciousness, whether connected or disconnected. Experiments have
     shown that connectivity (and therefore connected consciousness or awareness) changes
     independently from responsiveness: one can be suppressed while the other is intact. In other
     words, unresponsiveness can occur in conscious people, even when nothing appears to be
     physically preventing the person from moving. To produce unconsciousness, a drug must
     therefore reduce cortical-thalamic connectivity, and not merely suppress responsiveness.

     GABAergic drugs like midazolam are poor at suppressing such thalamic activity (i.e. sensory
     input) at doses that are known to prevent spontaneous responsiveness. 81 It has been shown that
     many patients who receive GABAergic drugs like midazolam as part of induction of anesthesia,
     and who are not paralyzed or are tested via the IFT and still aware and sensate may still not
     voluntarily move- i.e. will appear to be asleep- even when connected consciousness is present. 82
     And it is virtually certain that all of those patients will not recall or report immobility later, even if

80
   Das JM, Anosike K, Asuncion RMD. Locked-in syndrome. StatPearls. July 5, 2021. Available at:
https://www.ncbi.nlm.nih.gov/books/NBK559026/ Accessed Aug 17, 2021
81
   Mashour GA, Pryor KO. Consciousness, Memory and Anesthesia. IN: Miller's Anesthesiology 9th Ed. Gropper MA,
Ed. Elsevier , Inc. Philadelphia PA. 2002. Pp 260-66
82 Sanders RD, Tononi G, Laureys S, Sleigh JW. Unresponsiveness if; unconsciousness. Anesthesiology 2012; 116:946-59
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     they were conscious at the time, because administration ofmidazolam will prevent them from
     remembering.

     Other areas of the brain, such as the amygdala, also play a role in selecting a response out of the
     infinite number of responses that the brain could make when a stimulus is received. Connectivity
     of these areas to the cortex can determine whether an "aware" brain is able to select and perform
     any response. It has been shown that in various states of consciousness, damage to this area (or
     drug effects on this·area) can prevent spontaneous responses to events, while leaving the brain's
     ability to follow directions (so-called "goal-directed" responses) intact.

     Conditions involving the failure of cortico-thalamic connections that leave a conscious person
     unable to move despite not being paralyzed under non-anesthesia circumstances can help us
     understand what that feels like. Such neurological conditions are well-described and are called
     "locked-in syndromes." Some forms of locked-in syndrome are produced by certain neurological
     diseases, particularly a special type of stroke affecting the deep brain. With locked-in syndrome,
     despite having intact nerves and muscles, intact sensation, and full consciousness, patients are
     partially or wholly unable to move. 83 Survivors frequently report terror and desperation. One
     patient reported being able to hear every word and understand everything around him, including
     the doctors telling his wife that he had a less than 2% chance of survival, but was unable to tell
     them he was alive, " ... in my mind I was screaming 'No!" 84

     Locked-in syndrome can also occur after administration drugs. The condition consists of being
     awake and aware, yet unable or minimally able to initiate movement despite not being physically
     paralyzed. Patients described the condition as "outward calm, but inner terror." An old anesthetic
     technique using butyrophenones has been all but abandoned due in large part because so many
     patients reported nightmares, panic, and feelings of "being locked in" during induction of
     anesthesia. 85•86


     Consciousness to Painful Stimuli

     Any discussion of whether a particular drug "can produce unconsciousness" or "induce anesthesia"
     is entirely nonsensical unless it defines the particular stimulus against which the drug must
     produce and maintain unresponsiveness. The more severe a stimulus is, the deeper the
     "unconscious" state has to be to maintain unresponsiveness throughout the duration of the
     stimulus, and the deeper the anesthetic will generally be required to be. The person who falls
     asleep in front of the TV set with the volume on and the lights flickering is unconscious, for
     example, but will instantly awake if there is a sudden loud noise from the program or change in
     lights from the screen. They are, in other words, not insensate. And they are instantly no longer
     unconscious. Touching them or speaking to them may be all that is needed to awaken them.

83
   Patterson JR, Crabois M. Locked-in syndrome: a review of 139 cases. Stroke 1986; 17:758-64
84
   Locked-in syndrome: rare survivor Richard March recounts his ordeal. The Guardian. Aug 72012
85
   Rennemo F, Larsen R, Breivik H. Avoiding psychic adverse effects during induction ofneurolept anaesthesia with
levomepromazine. A double-blind study of levomepromazine and droperidol. Acta Anaestheesiol Scan. 1982; 26: 108-11
86
   Brown E, Purdon PL, Van Dort CJ. General anesthesia and altered states of arousal: a systems neuroscience analysis.
Ann Rev Neurosci 2011; 34:601-28
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     A true "anesthetic" will produce a state of general anesthesia, during which no stimulus will be
     strong enough to elicit a response if the dose is increased to a sufficient level. But with certain
     drugs, such as midazolam, administration of ever-increasing amounts of drug will actually never
     be sufficient to anesthetize against severely painful or noxious stimuli because the drug reaches a
     predetermined "ceiling effect" beyond which giving more drug does not deepen the sedation
     further, and cannot match the increasingly severe stimuli (see Ceiling Effect of Benzodiazepines,
     below). This is why midazolam is not classified by the FDA as a general anesthetic, cannot be
     used as a solo drug produce a state of general anesthesia, and was never approved for such a use.
     In fact, the FDA and DEA do not even classify midazolam as an anesthetic agent (which are listed
     as schedule "none"), but rather as a "schedule IV controlled substance with low potential for
     abuse."87

     Apart from consciousness, awareness of an event refers to the brain's experience of, and attention
     to the event, whether or not it is later remembered. Awareness is thus closely married to
     consciousness: one cannot attend to an event that does not enter one's consciousness. Recall, on
     the other hand, is the ability to remember an event after it has been consciously experienced.

     A person can be conscious and sensate, and experience an event, even an agonizing one, without
     being able to recall it. But failure to remember the event is not an indication that the person was
     unaware and did not experience terrible pain or suffering. Most or all of our conscious experiences
     will not be recalled. Who of us has not driven home from a hard day at work and realized later
     that we don't actually recall parts of the drive? Yet we were conscious. We saw and reacted to
     traffic lights and cars stopping in front of us, and realized we needed to turn down certain streets.
     It is well known that even experiences that are especially traumatic, e.g. painful, terrifying, or
     psychologically traumatizing, may in fact be associated with or even cause significant lapses in
     memory in the absence of drugs, even though the events occurred, were experienced, and caused
     terrible suffering at the time.

     Unfortunately, it is common for physicians, including anesthesiology experts, to conflate the terms
     "awareness" and "recall", and to mistakenly assert that patients who do not recall intraoperative
     events were not therefore conscious or aware of them at the time they occurred. And yet quite the
     opposite has been clearly shown in multiple human clinical trials to be true. Many studies and
     reports demonstrate that a disturbing percentage of patients are aware to various degrees of what is
     happening to them while under anesthesia, but simply cannot recall it later. One reason is that
     many drugs used in the course of anesthesia care, such as midazolam, are actually much more
     efficient at producing amnesia (memory loss) than unconsciousness, whether used in combination
     with other, enhancing medications, or alone.

     Seventy-two percent of patients exhibited purposeful responsiveness during studies using the IFT
     to detect awareness/responsiveness. Are the other 28% of patients who did not respond under IFT

87
   DEA Office of Diversion Control. Available at:
https://web.archive.org/web/20 l 30522180335/http://www.deadiversion.usdoj.gov/schedules/orangebook/c cs alpha.pdf
Accessed July 9, 2018
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     "unaware"? No. Although the IFT is the best test of awareness found so far, it misses cases of
     awareness-there are patients who are awake and responsive to commands on the IFT (we know
     this because they report accurate memories of the operating room) and yet do not move. Domino et
        88
     al, found in fact in which all of the cases had recall and could accurately remember their
     operating room experience, only 2% moved. While some of these patients had been given
     paralytic agents, not all had been paralyzed.

     We do not yet have an explanation for the mechanism for this finding, although it is proposed that
     interference with signal-switching in the thalamus may be the culprit. Terror and pain are known
     to impair the ability of persons to understand and carry out complex tasks during traumatic events,
     "freezing" them from being able to respond even when they are conscious and not under the
     influence of drugs.

     As a cardiac anesthesiologist in the 1980s and 1990s, I had personal experience with
     administration of high-dose benzodiazepines for cardiac anesthesiology in an estimated 750 to
     1000 cases. We never used a benzodiazepine by itself, but rather combined it with high-dose,
     high-potency narcotics such as fentanyl. A number of patients reported events in the operating
     room, demonstrating awareness with recall. In one particular case, a patient was given 1 mg/ kg of
     valium, plus 50 mcg/kg offentanyl89 (equivalent to approximately 50 to 75 mg ofmidazolam in a
     100 kg patient plus a high dose of a potent IV narcotic) to induce anesthesia prior to cardiac
     surgery. Despite these doses he was awake and sensate, and remembered the saw cutting his chest
     open as well as much of the rest of his surgery. Because he had been paralyzed with pancuronium
     bromide, a drug closely related to vecuronium bromide, there was absolutely no indication during
     the surgery that he was aware-he appeared simply to be sleeping (see section on vecuronium
     bromide) and we did not learn of his awareness until he was able to report it to us the following
     day. At that time he was able to recount the entire experience to us, along with his terror, and
     quote conversation that was going on in the operating room at the time, proving that he was indeed
     conscious and not hallucinating. Given the multiple reputable peer-reviewed studies of awareness
     in anesthetized patients using high-dose midazolam, given that my patient had received what can
     only be described as "massive" dose of diazepam, and based on my overall clinical experience
     using high-dose benzodiazepines for cardiac anesthesia, it is my opinion to a reasonable degree of
     medical certainty that there is no dose of benzodiazepine that will render a pri.soner insensate to the
     painful stimuli such as would be expected during the Oklahoma lethal injection protocol.



88
   Domino KB, Posner KL, Caplan RA. Awareness during anesthesia. A closed claims analysis. Anesthesiology 1999;
90:1053-61
89
   Because drug dosing is depending on the size of the recipient, it is nonsensical to refer to absolute drug doses when
detennining the clinical appropriateness and relative "size" of a given dose. A 1 mg dose may be appropriate for a 4 kg
baby, for example, but have virtually no effect on adult weighing 25 times that amount, or 100 kg. The required and
administered drug doses are always expressed in terms of units per kilogram of the recipient's weight, which gives an initial
indication of whether the estimated dose needed before adjustments for other factors (e.g. age, sex, concomitant prescription
or illicit drug use, etc) is appropriate. The dose of valium referred to above would be the equivalent of I 00 mg in a 200 lb
person, for example, which is approximately equal in potency to 50 to 75 mg of midazolam. This dose was given in
addition to the dosing equivalent of5000 microgram (mcg) offentanyl in a 100 kg person, a massive dose. Fentanyl is
synergistic with midazolam and further enhances its respiratory depressant effects. To put these doses in perspective, the
usual clinical doses of these drugs in a 100 kg person for an anesthetic induction that includes fentanyl would be 1 to 5 mg
of midazolam plus 150 to 250 mcg fentanyl.
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     C. Midazolam has a "ceiling effect" that has been demonstrated in both animal and human
        studies, and is below the 500 mg dose proposed in the Oklahoma Protocol. Human studies
        have demonstrated that the ceiling dose does not suppress conscious reactions by human
        subjects after administration of midazolam, and the dose does not decrease brain activity
        to the degree indicative of unconsciousness as measured by EEG monitors.
        Administration of doses of midazolam at any dose will not overcome midazolam 's inability
        to prevent pain and suffering.

      Is it possible to achieve and maintain "unawareness" by simply delivering higher and higher
      doses of the midazolam? The answer is unequivocally no. This is due to the pharmacologic
      characteristics of all benzodiazepines, including midazolam.

      It only seems logical that giving more of any given drug should result in a proportionally larger
      clinical effect-i.e. doubling the dose will result in twice the effect. However, many drugs,
      including midazolam, do not have proportionally larger clinical effects with increasing doses,
      and/or have a maximum ("ceiling" dose, also called a "saturable effect") at which no further
      increase in clinical effect occurs no matter how much drug is given.

      With midazolam, clinical effects are produced only when midazolam binds to specific receptors
      (GABA receptors) in the brain to produce sedation. This works in a "key-in-lock" manner: once
      the receptor has bound a molecule of midazolam, it does not accept more midazolam. Up to a
      point, the more receptors that bind to midazolam, the more sedation is produced. The ratio of
      drug needed to interact with receptors is 1:1-that is, each receptor has only space to bind with
      one molecule of midazolam, and there are a finite and relatively small number of GABA receptors
      in the brain in comparison to other types of receptors. Once the maximum number of GABA
      receptors is bound, it does not matter how much more drug is added, because there are no
      receptors for it to attach to. Imagine, for example, that there are 16 total receptors that can
      interact with midazolam. Once 16 molecules of midazolam are administered, the maximum
      amount of sedation for that patient will be reached, whatever that is for each individual patient. If
      32 molecules of midazolam are given, the effect is no different than if 16 are given, because there
      will still only be 16 receptors for the midazolam to act upon and have a clinical effect. The left-
      over 16 midazolam molecules will simply float around in the bloodstream, doing nothing. Even
      administering 160 molecules, 10-times the first dose, will have no further effect, leaving 144
      unbound molecules will simply float around in the bloodstream having no further effect. This
      phenomenon is called a ''ceiling effect", or the "saturable effect", and has been clearly shown for
      m.idazolam in dogs90•91 and humans. 92•93 In rats, in fact, it has been shown that the dose of



90
   Hall RI, Schwiegr IM, Hug CC Jr. The anesthetic efficacy of midazolam in the enflurane-anesthetized dog.
Anesthesiology 1988; 68:862-6
91
   Seddighi R. The effect of midazolam on end-tidal concentration of isoflurane necessary to prevent movements in dogs.
Veterinary Anesth Analg 2011; 38: 195-202
92
   Melvin MA, Johnson BH, Quasha AL, Eger EI II. Induction of anesthesia with midazolam decreases halothane MAC in
humans. Anesthesiology 1982; 57:238-41
93
   Inagaki Y, Sumikawa K, Yoshiya I. Anesthetic interaction between midazolam and halothane in humans. Anesth Analg
1993; 76:613-7
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      midazolam would never be high enough to ever produce surgical anesthesia. 94 Veterinary
      anesthesiology specialists at the University of British Columbia state that midazolam will not
      produce anesthesia in a mouse even when combined with a powerful drug like ketamine stating
      that in rats and mice "diazepam (i.e. valiwn) and midazolam (i.e. versed) .... are mild sedatives so
      used on their own will not cause unconsciousness". 95 Even combined with ketamine, it is only
      recommended for use "in non-invasive, non-painful procedures, such as imaging."96

      The ceiling effect has been demonstrated in both animal and human studies. Furthermore, it has
      been shown in humans that the ceiling dose of midazolam does not suppress brain function
      sufficiently to meet criteria for unconsciousness.

The Studies:

     1. Hall et al.,97 performed a classic "dose finding" pharmacologic study in dogs to determine
        whether midazolam could be used as a solo anesthetic drug, and to correlate the dose of
        midazolam and serum drug levels at which total anesthesia occurred with midazolam, if at all.
        They performed the study in a standard fashion for the industry, putting the dogs under "total"
        anesthesia with enflurane (ENF), and then administering increasing doses of midazolam to see
        how far they could turn down the gas and still have the dog not move to the stimulus of having a
        clamp put on their tail (a very painful stimulus in a dog). If midazolam can perform as a so-
        called "complete" anesthetic (in Dr. Antognini' s words), then there must, according to the
        definition of an anesthetic, be a dose at which midazolam alone would keep the dogs from
        moving, and the ENF could be turned off. In order for this to occur, the effects of midazolam
        would have to have a more-or-less linear relationship to the dose (the "dose-response"
        relationship). In a linear "dose-response" relationship, doubling the dose of midazolam would
        double the effect, tripling it would triple the effect, and so on, and eventually, one would be able
        to cut the ENF down equally each time they increased the midazolam dose the same increment.
        So for example, if giving 2 mg/kg of midazolam allowed you to decrease the ENF dose by 10%,
        then giving 4 mg would allow you to decrease the ENF dose by 20%, 3 mg would allow a 30%
        reduction, etc.

        But the dose-response relationship with rnidazolam is not linear. The dose-response relationship
        is in fact exponential. As the dose of midazolam was increased, each incremental dose had less
        and less additional effect. With each additional increment of drug, the additional effect is
        smaller and smaller. This exponential dose-response relationship has been proven for
        midazolam in multiple studies, and it is the dose-response relationship agreed upon by virtually

94Schaffner PL, Scherschlicht R, Pole P, et al. Pharmacology ofmidazolam. Arzm:imillel-Forschung. 1981 ; 31 (12a):2 I 80-
20 l
95 Rat and mouse anesthesia and analgesia. University of British Columb ia, Vancouver BC. March 2, 2016. Available at:
https://animalcare.ubc.ca/sites/default/files/documents/Guideline%20-
%20Rodent%20Anesthesia%20Analgesia%20Formulary%20%282016%29 .pdf Accessed Feb 8, 2022
96 Rat and mouse anesthesia and analgesia. University of British Columbia, Vancouver BC. March 2, 20 16. Available at:

https://animalcare.ubc.ca/sites/default/fi les/documents/Guideline%20-
%20Rodent%20Anesthesia%20Analgesia%20Formulary%20%2820 l 6%29.pdf Accessed Feb 8, 2022
97 Hall Rl, Schwiegr IM, Hug CC Jr. The anesthetic efficacy ofmidazolam in the entlurane-anesthetized dog.
Anesthesiology 1988; 68:862-6
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        every major pharmacologic and anesthesia textbook in the western world. It is also exactly
        what the known key-in-lock receptor mechanism of action of midazolam would predict.

        Hall found that increasing the dose of midazolam did not further reduce the need for ENF once
        they reached a dose of approximately 0.3 mg/kg, even though the dose was subsequently
        increased over 3-fold and plasma drug levels increased from 1464 ± 293 ng/ml to 9763 ±1213.
        ENF was still required to keep the dogs anesthetized. Total doses of midazolam administered
        were as high as 11 mg/kg total in the high dose group. And they still saw no significantly
        greater effect. To put this in perspective, for a 220 lb man, the high doses would equal an
        intravenous dose ofmidazolam of1100 mg, more than twice the dose prescribed in the
        Oklahoma execution protocol.

        Note that the peak drug levels in the high dose group in which the dogs were still responsive
        was over 10,000 nglml, or more than 5 times the average plasma levels recorded in prisoners
        executed with midazolam, and more than 4 times the blood level of midazolam measured in
        John Grant following his recent execution. (See Appendix IV) Hall's dogs received more than
        11 mg/kg of midazolam and still were moving and trying to get away from the tail clamp.

        Hall et al., explicitly concluded that "at least in practical terms, there appears to be a ceiling to
        the anesthetic effect of midazolam."

     2. Seddighi et al,98 did a similar, classic dose-finding pharmacologic study in dogs, using
        Isoflurane (ISF) instead of ENF as the "complete" anesthetic. The technique was similar, and
        the stimulus used to test responsiveness was an electrical stimulus (shock supplied by electrodes
        placed under the skin). They gave increasing doses of midazolam while trying to turn down the
        ISF to find the dose of midazolam at which they could turn off the ISF and still not have the
        dogs respond. A loading dose of midazolam was given, followed by an infusion to maintain the
        plasma levels at steady state throughout the experiment. Doses of midazolam given were
        (loading dose and infusion): 99

                0.2 mg/kg plus infusion of2.5 mcg/kg/min
                0.4 mg/kg plus of 5 mcg/kg/min,
                0.8 mg/kg plus 10 mcg/kg/min,
                1.6 mg/kg plus 20 mcg/kg/min,
                3.2 mg/kg plus 40 mcg/kg/min, and
                6.4 mg/kg plus 80 mcg/kg/min

         For perspective, the highest loading dose would be equivalent to administering 640 mg to a 100
         kg prisoner as an intravenous injection.


98 Seddighi R. The effect of midazolam on end-tidal concentration of isoflurane necessary to prevent
movements in dogs. Veterinary Anesth Analg 2011; 38:195-202
99 Note that a typical loading dose in humans is 1-2.5 mg/kg
(https://www.drugs.com/dosage/midazolam.htrnl) and the typical loading dose in dogs and cats is 0.07-
0.2 mg/kg. (https://www.petplace.com/article/drug-library/drug-library/librarv/rnidazolam-versed-for-
dogs-and-cats/). Humans are more sensitive to the effects of midazolam than dogs and cats.
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       The authors found that there was a ceiling effect in the lower dosing ranges. Even increasing the
       dose of midazolam 10-fold only allowed them to reduce the total ISF dose by 30% at the
       maximum, after which they could not decrease the ISF further (note that the dogs still required
       more than 70% of the full dose of ISF). At that point drug plasma concentrations were 3 72
       ng/ml, and increasing the dose of midazolam did allow them to turn the ISF down any further-
       even when they gave enough midazolam to increase the plasma concentration almost 10-fold (to
       3583 ng/ml) at the maximum dose their study called for. These plasma levels were
       approximately twice the average blood levels seen in prisoners executed using midazolam. (See
       Appendix IV) The ceiling effect (at when point no further increase in midazolam dose had
       effect) was seen in dogs at a dose between 0.4 mg/kg and 0.8 mg/kg (i.e. no difference was seen
       between.

       For perspective, the ceiling effect in dogs would correspond to 80 mg in a 100 kg inmate, if they
       were equally sensitive to midazolam (which they are not-humans are more sensitive and reach
       their ceiling effect at a lower dose as the human studies show).

       The authors concluded that the IO-fold increase in drug levels "did not further reduce
       MACnm. 100"They further stated that ''this study demonstrated a ceiling to midazolam's effect
       on MACnm reduction....... The ceiling effect is thought to be due to the saturation of GABAA
       receptors after administration of higher doses of midazolam."


These classic pharmacologic studies scientifically prove several things that are now accepted as fact in
scientific circles regarding midazolam:

        1) Midazolam has a ceiling effect that in dogs appears to be at a plasma drug
           concentration of about 3 72 ng/ml.

        2) Contrary to Dr. Antognini's suggestion, the dose-response curve ofmidazolam
           has been proven in multiple studies to not be linear, but exponential.

        3) Midazolam can never be what Dr. Antognini refers to as a "complete anesthetic",
           since even at massive intravenous doses, it did not produce unresponsiveness.
           Neither research group was ever able to turn off the other anesthetic and have
           midazolam perform as an anesthetic by itself. Midazolam, in other words, could
            not perform as an anesthetic.

Human studies also unequivocally confirm the above fmdings.

Classic dose-finding studies such as the ones described above that include the dosing ranges used in
judicial executions have not been done in humans because they would be unethical: there is no medical
use for such dosages, and therefore no purpose for such studies that might outweigh even small risks of


100MACnm refers to the amount of ISF required to result in no movement in only 50% of the dogs.
This is a standard measure of ISF effective dose.
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adverse effects associated with giving the drug to human subjects. However, we don't need such
studies, because studies using lower dosing ranges have been done, and unequivocally show the ceiling
affect at these lower doses. Human studies show that: .

       1) Midazolam has a ceiling effect at doses which are lower than the execution protocol.
          This means that adding more drug beyond that dose will produce no further clinical
          effects, including further reduction of brain activity.

       2) At plasma levels of midazolam associated with maximal clinical effect, both
          consciousness and responsiveness persist.

       3) At plasma levels that are higher than plasma levels seen in lethal injection executions,
          consciousness and responsiveness persist

1. Inagaki et al. These authors studied women undergoing hysterectomy in a classic, dose-finding
   study similar in design to the dog studies above. Patients were anesthetized with halothane
   (HAL)-what Dr. Antognini refers to as a "complete" anesthetic agent, plus nitrous oxide (N2O).

       Once stabilized, one of the above doses of midazolam was given in the following doses:
         • None (control group)
         • 0.1 mg/kg followed by an infusion of 1 mcg/kg/min to keep plasma drug levels at steady
             state
         • 0.2 mg/kg followed by an infusion of2 mcg/kg/min
         • 0.4 mg/kg followed by an infusion of 4 mcg/kg/min

      Steady state midazolam levels achieved in the highest dose group were 598 ± 98 ng/ml.

      The stimulus that was used to measure responsiveness was surgical incision, i.e. severe pain.
      Responsiveness was judged as movement with incision. In the same experimental design
      previously carried out in dogs in the Hall and Seddighi studies, doses of HAL were adjusted in
      subsequent patients down to find the lowest dose of HAL that could be achieved and not have
      the patients respond to incision.

      Despite serum levels of midazolam of approximately 900 ng/ml the authors were unable to turn
      off the HAL, meaning that once again, midazolam could not replace HAL as a "total"
      anesthetic. This plasma level is over 2.3 times higher than the plasma level found in Billy
      Ray Irick's blood after his recent execution in Tennessee using 500 mg midazolam.

      The authors in fact explicitly state that the dose-response curve for midazolam was exponential
      and not linear. This is consistent with both the dog studies and the known key-in-lock receptor-
      based mechanism of action of midazolam. They further explicitly stated that the action of
      midazolam had a "saturated nature," or ceiling effect. While they did not identify a specific
      plasma level as ''the ceiling", (this study was not intended to find the specific ceiling effect
      dose), at the highest dose in the study, 0.4 mg/kg, the dose-response curve was considerably
      curved and flattened, indicating they were seeing a ceiling effect at that dose. They noted that
      the plasma midazolam levels in dogs required to reduce MAC are about 2.5 times the levels
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        required to do so in humans, and this is in range with the Seddighi finding of a ceiling effect in
        dogs at 0.4 to 0.8 mg/kg. Furthermore, in their study, despite plasma levels of midazolam
        approac1¥ng 800 ng/ml, all of the patients were still responsive.

        To put this finding in perspective, the dose at which the beginning of a ceiling effect was seen
        corresponds to 40 mg in a 100 kg inmate. The plasma levels found in the patients who were
        still moving in this study are at or above the plasma levels seen Billy Ray Irick and Donnie
        Johnson, prisoners recently executed in Tennessee using midazolam. Moreover, as noted in
        Appendix IV, the plasma levels that result from the administration of 500 mg of midazolam can
        vary substantially with some levels below 400 ng/ml, and variation in two recent Oklahoma
        executions ranging from 3200 ng/ml for Mr. Warner and 2200 ng/ml for Mr. John Grant.


2. Glass et al. In this study, authors were looking at effects of 4 drugs used during anesthesia on brain
   activity, by comparing readings from a BIS monitor (a device that uses the patient's EEG). The
   drugs were alfentanil, propofol, ISF, and midazolam. In order to correlate BIS readings with
   "unconsciousness", they carried out a standardized sedation check, in which they softly called the
   patient's name, then more loudly, then shook them "mildly", then squeezed their trapezius muscle
   (a similar stimulus to a sternal rub). These are mild stimuli, and not severely painful. 101

    It is known now that the sedations scale and "consciousness check" used by Glass would not be
    sufficient to prove unconsciousness to severe pain or noxious stimulus. Kim et al. 102 has since
    demonstrated in a controlled study in humans that a trapezius squeeze does not approach the level
    of severe pain or noxious stimulus, and that the sedation scale used by Glass to determine
    "unconsciousness" was insufficient to show unconsciousness to severe pain. Glass therefore
    erroneously categorized a response to a trapezius squeeze as being evidence of unconsciousness. It
    is actually a sign of responsiveness to even a mild stimulus.

    •   In the midazolam group, although the target plasma concentration for the study was 300 ng/ml,
        the measured serum concentrations of midazolam were as high as 934 ng/ml, and yet at these
        drug levels all patients who received midazolam were responsive. These drug levels are 2.4
        times the level found in Billy Ray Irick's blood following his recent execution with midazolam
        in Tennessee. Nine out often midazolam patients responded to a very light stimulus--light
        shaking, and the remaining patient responded to trapezius squeeze. No midazolam patient
        failed to respond.

    •   These drug levels are comparable to drug levels seen Billy Ray Irick (drug level 397ng/ml), and
        Donnie Johnson (drug level 934 ng/ml), the prisoners most recently executed using midazolam
        in Tennessee.

3. Miyake, et al. In this study, authors compared midazolam blood concentrations with EEG (BIS)
   values in a double-blind study of patients undergoing general anesthesia. Patients were given

IOI Kim TK, Niklewski PJ, Martin JF, Obara S, Egan TD. Enhancing a dsedations score to include truly noxious
stimulation: the extended observer's assessment ofalertness and sedation (EOAA/S). Brit J Anaesthesia 2015; 115: 569-77
102
    Kim TK, Niklewski PJ, Martin JF, Ohara S, Egan TD. Enhancing a dsedations score to include truly noxious
stimulation: the extended observer's assessment ofalertness and sedation (EOAA/S). Brit J Anaesthesia 2015; 115: 569-77
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      midazolam 0.2 mg/kg (plasma levels approached approximately 400 ng/ml), and 0.3 mg/kg (plasma
      levels > 600 ng/ml). The authors defined loss of consciousness as nonresponsiveness to mild
      stimuli (calling the name and shaking the shoulders), and used the same sedations scale that Kim et
      al. have since shown to not reflect surgical stimulus and not be reliable in detecting
      unconsciousness.

      In no patient in the Miyake study did BIS values fall below 60. In fact, in most patients it
      remained around 70 throughout the experiment.

         •   Not surprisingly, one of the patients had not only consciousness, but recall of the
             operating room (despite a so-called "consciousness check" defined as indicating they were
             "unconscious"), and their BIS values were all above 60.

         •   There was no significant difference in BIS values at the higher dose compared to the
             lower dose of midazolam, i.e. that a maximal effect on the EEG (the "ceiling effect" on
             brain activity) occurred after administration of 0.2 mg/kg. Because the next increase in dose
             was to 0.3 mg/kg and there was no significant difference in scores, the ceiling effect for
             brain activity as demonstrated by the BIS in this study was no higher than around 0.2 mg/kg
             dose, and may have been lower (lower doses were not tested). It certainly was no higher
             than 0.3 mg/kg, since they saw the ceiling effect take place in their lower dosing group.

         •   For perspective, that would be equivalent to a dose of 20-30 mg in a 100 kg inmate.

      The authors themselves concluded, yet again, that these findings are consisted with studies of other
      benzodiazepines, and saturation of receptors---the "saturable" or "ceiling" effect-would explain
      these findings. They state: "The BIS does not decrease further [below 70] even if
      [midazolam's] plasma concentration increases to levels higher than that required for
      sedation," meaning that increasing the dose does not further suppress the brain beyond sedation
      alone, even when higher doses are given. A lack of further ·depression of EEG with a doubling
      of the dose of midazolam demonstrates that there is a ceiling effect of midazolam on brain
      activity levels.

4. Gamble et al. 103 These researchers studied 230 healthy patients given midazolam in combination
   with other drugs during the induction of anesthesia. Doses given ranged from 0.15 mg/kg to 0.5
   mg/kg.

       Only 60% of patients appeared to fall asleep when they had no stimulation with 0.5 mg/kg
       midazolam. In fact, 2 patients did not even appear to be very sedated. Even when the anesthetist
       assess~d the patient as being "asleep" after midazolam administration, once moderate stimulation
       (tracheal intubation) or severe stimulation (surgical incision) were applied, most responded to
       loud sounds and exhibited purposeful movement with the onset of the paralytic agent, indicating
       that they were not anesthetized, were not unconscious to severe stimulation, and could feel and
       react to the onset of paralysis.


103 Gamble JAS, Kawar P, Dundee JW, et al. Evaluation ofmidazolam as an intravenous induction agent. Anaesthsia 1981;
36:868-73
           Case 5:14-cv-00665-F Document 612-2 Filed 02/12/22 Page 31 of 92

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         In a second more detailed publication of the study, 104 they note that around 40% of patients in the
         group receiving the 0.5 mg/kg dose of midazolam didn't fall asleep at all. Furthermore, while
         increasing the dose of midazolam from 0.2 mg/kg to 0.3 mg/kg was associated with an increase in
         sedation scores and responsiveness, there was little difference in sedation scores and
         responsiveness between the group of patients that received 0.3 mg/kg and those that received 0.5
         mg/kg of midazolam. These findings are similar to, and confirm the results of Miyake et al. and
         show that increased dosing beyond this range does not lead to increased clinical effect, and in this
         dosing range, almost half of patients were even asleep when they weren't being stimulated, let
         alone when they were. Gamble et al. concluded that "it is obvious that in unpremedicated
         patients midazalam in doses up to 0.5 mg/kg is unreliable as an anesthetic induction agent. "

         As a reminder: 0. 5 mg/kg is at the ceiling effect of midazolam on human brain activity as
         measured by a processed EEG monitor, as demonstrated in the Miyake study cited above.
         Raising the dose above this will not result in increased effect or sedation.

       To summarize:

           •   Both animal and human studies have unequivocally demonstrated a ceiling effect to
               midazolam.

           •   The dose-response curve for midazolam is exponential, not linear and has been proven in
               multiple studies and is accepted by all authoritative textbooks, and Dr. Antognin's assertion
               that this is not so flies in the face of all reputable sources.

           •   No dose ofmidazolam can completely "replace" an anesthetic agent on a dose-finding
               study, and this by defmition means that midazolam is not a "complete anesthestic"

           •   The ceiling level in dogs appears to be about 370ng/ml, which corresponded to a dose of 0.8
               mg/kg in dogs.

           •   Dogs are less sensitive to midazolam than humans by about 2.5 times; the doses at which a
               ceiling effect occurs in humans would not be greater, but almost certainly be much less than
               the doses in dogs-it would be illogical to think otherwise.

           •   Human studies show that after a do·se of 0.4 mg/kg of midazolam, and at plasma
               concentrations of approximately 900 ng/ml, patients are still responsive to light to moderate
               stimuli. This drug level is at or below plasma drug levels documented in prisoners executed
               using midazolam, indicating that prisoners received more than the ceiling dose of
               midazolam, beyond which no greater clinical effect can be seen.

           •   Human studies show that there is no further, suppression of the EEG or BIS occurs, when
               the dose of midazolam is doubled from 0.2 to 0.3 mg/kg, and therefore the ceiling effect is
               at or between to those doses.

104
      Gamble JAS, Dundee JW, Kawar P. Midazolam-an alternative to thiopentone? Br J Anaesth 1980; 52:95lp-952p
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          •   At doses of 0.2 mg to 0.3 mg/kg, around the ceiling effect of midazolam in humans, BIS
              values remain above 60 and do not meet the criteria for unconsciousness.


          The eyewitness accounts of John Grant's execution are exactly what we would expect, given
          these findings. The level of midazolam in his blood was 2200 ng/ml, far above the ceiling
          effect of around 600 ng/ml, meaning that the "extra" 1600 ng/ml was having no further effect.
          At 600 ng/ml, all patients in this study were still responsive. And there is no doubt that at the
          higher level, John Grant was still moving, struggling to breathe, turning his head and lurching
          against his restraints, demonstrating that there is no use in giving more than the ceiling dose of
          midazolam: it will not have any more effect in preventing responses in humans than giving a
          0.2 to 0.4 mg/kg dose.


      D. The Oklahoma Protocol's consciousness checks will not effectively and reliably determine
         whether a prisoner is unconscious and insensate to the noxious stimuli of the Oklahoma
         Protocol.

         Even if the prisoner does not move, consciousness checks have been scientifically proven in
         human clinical and research studies to be ineffective in detecting consciousness and
         awareness.

         After injection of midazolam, the Oklahoma protocol calls for a "consciousness check", using
         "medically appropriate means" to be carried out by a member of the IV Team after injection of
         midazolam and before injection of vecuronium bromide and potassium chloride. This check is
         supposed to occur 5 minutes after completion of injection.

         However, there are no such "medically appropriate" tests that can reliably detect consciousness,
         despite what can only be called intensive attempts by researchers to find one. Common tests
         studied in the literature include response to eyelash stimulation, calling of the name in a soft,
         then loud voice, then trapezius squeeze or sternal rub. And research shows, again unequivocally,
         that these measures are unable to detect awareness to severe stimulus.

        The Studies : Eyelash reflex and verbal commands

        Using the gold standard, the IFT, for testing awareness during general anesthesia, the following
        authors have demonstrated that patients are conscious to painful stimuli via IFT or demonstrated
        recall even when they have lost the eyelash reflex and do not respond to verbal commands:

        Gamble et al.1° 5 (Eyelash reflex and verbal commands) The 1980 study cited above
        demonstrated a lack of anesthesia in patients receiving 0.5 mg/kg midazolam, and in the study,
        the authors also examined whether they (the anesthesiologists) could predict that the patient
        would not be responsive to severe stimulus. The "consciousness checks" they used were was


105
      Gamble JAS, Dundee JW, Kawar P. Midazolam-an alternative to thiopentone? Br J Anaesth 1980; 52:951p-952p
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      eyelash reflex (lightly brushing the eyelashes to see if the eyelids would twitch) and calling the
      patient's name and asking them to open their eyes. They found that even when the eyelash
      reflex was lost, patients still responded to commands and were therefore not unconscious. They
      concluded that "absence of the eyelash reflex was not a reliable end-point".

      Russell IF. 106 (Verbal commands) Russell tested IFT responsiveness during two different full
      general anesthetic regimens in 55 patients. Patients were deemed to be unconscious before
      surgical incision when they failed to respond during a "consciousness check" which consisted of
      verbal commands. Despite appearing unconscious prior to incision, 24% opened their eyes, and
      56% wrinkled their brow and shook their head when given a significantly painful stimulus
      (surgical incision). One patient who did not respond to verbal commands and was believed to be
      unconscious nevertheless exhibited "vigorous, purposeful actions that threatened to interfere with
      the surgical field." Note that the patient was only able to move the arm that was not paralyzed.

      Baker AB. 107 ( eyelash reflex, painful stimuli) This study involved the use of diazepam-a
      benzodiazepine closely related to midazolam- as part of the general anesthetic induction in 400
      patients. Patients received 0.5 to 1.0 mg/kg of diazepam, (which would correspond to
      approximately 0.5 to 0. 75 mg/kg of midazolam), followed within 1 minute by the administration
      of a paralytic agent, suxamethonium. They authors reported that the eyelash reflex was usually
      not abolished, and patients could be roused from sleep by painful stimuli despite the high dose of
      diazepam they were given. In other words, they were not unconscious to painful stimuli at doses
      that would correspond to being above the ceiling effect of midazolam.

      Kocaman et al. 108 (eyelash, verbal commands) These researchers tested awareness using the
      IFT during general anesthesia involving multiple different drugs. Neither loss of eyelash reflex
      nor loss of response to verbal commands predicted unawareness; and awareness was
      demonstrated in multiple patients despite BIS levels < 60.

      St Pierre et al. 109 (verbal commands). These researchers demonstrated awareness using the IFT
      in patients undergoing general anesthesia despite loss of response to verbal commands.

      In summary, loss of eyelash reflex and response to voice may occur with sedation and has no
      relationship to whether a person will remain asleep once painful stimulation is applied.




106
    Russell IF. Comparison of wakefulness with two anaesthetic regimens. Total i.v. balanced anaesthesia. Br J Anaesth
1986; 58:965-8
107
    Baker AB. Induction of anesthesia with diazepam. Anaesth 1969; 24:388-92
108
    Kocaman Akbay B, Demiraran Y, Valcin Sezen G, et al. Use of the bispectral index to predict a positive awareness
reaction to laryngeal mask airway-Fastrach insertion and intubation. Acta Anaesthesiol Scand 2007; 51: 1368-72
109
    St Pierre M, Landsleitn er B, Schwilden H, et al. Awareness during laryngoscopy and intubation: quantitating incidence
following induction of balanced anaesthesia with etomidate and cisatracurium as detected with the isolated forearm
technique. J Clin Anesth 2000; 12: l 04-8
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        Changes in blood pressure (BP) and heart rate (HR) during surgery or lack thereof do not
        correlate with consciousness and awareness, and a lack of change of blood pressure or heart
        rate cannot be taken as an indicator of unconsciousness.

        1. Hall et al. 110 in the dog study described above specifically commented on the fact that in dogs
           there was not a significant association between HR and BP, and the occurrence of response to
           tail clamp. They stated " ..the degree ofhemodynamic response to noxious stimuli in terms of
           changes in heart rate and blood pressure would not be predictive of somatic (i.e. movement)
           responses, and could not be relied upon as an indicator ofinadequate enflurane-midazolam
           anesthesia." (my italics).

             As with the ceiling effect dogs, this finding has been replicated multiple times in
             humans.

        2. St Pierre et al. 111 Despite patients demonstrating awareness on the IFT and in patients who
           have explicit recall during surgery, at least 25% of patients with a positive IFT did not show
           any change in BP or HR despite stimulation.

        3. Flaishon et al. 112 Demonstrated in patients under general anesthesia who were not responsive
           to verbal command after propofol administration, there was no statistical association between
           BP, HR, and return of response to verbal commands. The authors explicitly stated that
           hemodynamic variables such as changes in HR and BP are not related to consciousness, and
           cannot be used to detect consciousness, stating "current conventional clinical monitoring may
           result in an undetected return of consciousness in a paralyzed patient."

        4.     Hilgenberg JC. 113 This author reported recall of surgery in a heart surgery patient, during
              which there was no change of HR or BP to indicate she was awake. Awareness was only
              discovered after surgery, when the patient recounted her experience.

        5. Moerman et al. 114 These authors examined 26 patients who had proven consciousness under
           general anesthesia, and found no significant differences in hemodynamic parameters when
           compared to the records of patients who had no recall.

        6. Domino et al. 115 The authors studied 61 cases of recall during surgery and found that "the
           classic clues for light anesthesia were absent in most cases." High BP occurred in just 15%,


110
    Hall RI, Schwiegr IM, Hug CC Jr. The anesthetic efficacy ofmidazolam in the enflurane-anesthetized dog.
Anesthesiology 1988; 68:862-6
111
    St Pierre M, Landsleitn er B, Schwilden H, et al. Awareness during laryngoscopy and intubation: quantitating incidence
following induction of balanced anaesthesia with etomidate and cisatracurium as detected with the isolated forearm
technique. J Clin Anesth 2000; 12: 104-8
112
      Flaishon
113 Hildgenberg JC. lntraoperative awareness during high-dose fentanyl-oxygen anesthesia. Anesthesiology 1981; 54:341-3
114 Moerman N, Bonke B, Oosting J. Awareness and recall during general anesthesia Facts and feelings. Anesthesiology
1993; 79:454-64
115
    Domino KB, Posner KL, Caplan RA. Awareness during anesthesia. A closed claims analysis. Anesthesiology 1999;
90:1053-61
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           fast HR in just 7%, and only 1 person moved (most, but not all patients, had received paralytic
           agents).

In summary, changes in HR and BP after a painful stimulus, when present, may indeed signal an aware
patient, but a lack ofchange in HR and BP to stimulation is just as likely to be associated with
awareness as not. A failure to detect a change in these parameters therefore cannot be taken as
evidence of unconsciousness.

         Trapezius squeeze

         Kim TK et al. 116 studied the amount of medication required to suppress a response to a
         trapezius squeeze (a similar stimulus to a sternal rub), and found that only "light anesthesia"
         was required, when compared to electrical stimulation (or severe pain/surgery). They found that
         the trapezius squeeze required about half of the amount of drug to suppress than general
         anesthesia They concluded "a trapezius squeeze ... is not sufficiently noxious to identify clinical
         states consistent with typical surgical anesthesia."



      E. The IV Team Leader has sworn in a declaration that the proposed methodology for
         consciousness checks under the Oklahoma Protocol is "Verbal, Sternum rub, painful
         stimulation." The IV Team Leader will not be able to tell if a prisoner is conscious using
         such methods. It is not credible to assert that this IV Team Leader will succeed evaluating
         whether a prisoner is unconscious and insensate to noxious stimuli where trained
         anesthesiologists and researchers with years of clinical experience specific to consciousness
         evaluations with thousands of patients, have not been able to do so.

         Experienced Anesthesiologists Are Unable to Detect Awareness Using Clinical signs, such
         as loss of eyelash reflex, loss of response to commands, changes in blood pressure and
         pulse:

         Domino et al. 117 examined 61 cases of awareness while under general anesthesia, In those
         cases, the anesthesiologists all judged their patients to be asleep using clinical signs, but the
         patients later had explicit recall of their surgery.

         Moerman et al. 118 Anesthesiologists, all of which had 2: 10 years in practice, were unable to
         distinguish 26 patients who were aware (and had explicit, traumatic recall of their surgery) from
         control patients who did not report awareness by reviewing anesthetic records and looking for
         clinical signs of awareness.


116  Kim TK, Niklewski PJ, Martin JF, Ohara S, Egan TD. Enhancing a dsedations score to include truly noxious
stimulation: the extended observer's assessment ofalertness and sedation (EOAA/S). Brit J Anaesthesia 2015; 115: 569-77
117
    Domino KB, Posner KL, Caplan RA. Awareness during anesthesia. A closed claims analysis. Anesthesiology 1999;
90:1053-61
118
    Moerman N, Bonke B, Oosting J. Awareness and recall during general anesthesia. Facts and feelings. Anesthesiology
1993; 79:454-64
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         During John Grant's execution, multiple eyewitnesses, including the defense's own medical
         expert, report that no consciousness check was done. However, moments before
         "unconsciousness" was declared, Mr. Grant was visibly struggling to breathe, and purposefully
         moving his head. There were ample signs that he was still conscious. Even if a consciousness
         check were done at this point on a relatively quiet inmate, the maneuvers described by the IV
         Team leader (verbal, sterum rub) would be insufficient to tell if the inmate were unconscious
         and would remain unconscious as the sensations of suffocation, drowning and the searing pain
         of potassium administration continued, since these maneuvers fail to detect consciousness in
         humans in whom they have been studied.


      F. Administration of vecuronium bromide to a conscious person causes severe pain and
         suffering.

         Vecuronium bromide, like all paralytic agents, has no analgesic or sedative properties of its
         own, and does not have any effect on consciousness. This is scientific fact. It does not
         relieve pain, and it does not put anyone "to sleep." From descriptions from and lawsuits by
         patients who have suffered anesthetic mishap in which they erroneously received paralyzing
         agents (awake paralysis) including vecuronium bromide without first being sedated, 119 as well
         as from studies in healthy volunteers who received paralyzing agents without sedation, 120 we
         know that administration of such an agent to an aware patient results in extreme fear and panic,
         sensations of suffocation, severe air hunger, and inability to signal to providers with gestures or
         facial expressions that they are aware and suffering. Subjects who underwent awake paralysis
         in a human experiment described the sensation of being "encased in a wetsuit made of lead,"
         that was accompanied by immediate onset of distress which worsened with attempts to move. 121
         Indeed, such patients are commonly described as experiencing "outward calm and inner terror;"
         the outward appearance of the patient is serene because the paralysis produced by vecuronium
         bromide and other paralytic agents does not permit movement or changes of expression that
         otherwise clue an observer that the patient is in extreme terror and discomfort, even though
         beneath the serene exterior, the patient is fully aware and in agony. Moerman et al, 122 studied 16
         patients who were conscious and paralyzed during general anesthesia. Patients reported
         "terror", "it was like a nightmare", "panic", "pain", sensations of "choking", and a sense of
         "dying". The experience was so traumatic that many had flashbacks, nightmares and required
         therapy for what would now be recognized as post-traumatic stress disorder.

         Domino et al. 123 studied 18 cases of awake paralysis. Patients reported feeling the surgery, pain,
         and severe panic. The experience was so terrible, that even patients who did not experience

119
    Domino K, Posner KL, Caplan RA, Cheney FW. Awareness during anesthesia: a closed claims analysis.
Anesthesiology 1999; 90: I 053-61
120
    Schuller PJ, Newell S, Strickland PA, Bariy JJ. Response ofbispectral index to neuromuscular block in awake
volunteers. Brit J Anaesth 2015:i95-i103
121 Ibid.
122 Moerman N, Bonke B, Oosting J. Awareness and recall during general anesthesia. Facts and feelings. Anesthesiology
1993; 79:454-64
123
    Domino KB, Posner KL, Caplan RA. Awareness during anesthesia. A closed claims analysis. Anesthesiology 1999;
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         pain developed severe emotional distress, were traumatized, and exhibited long-term symptoms
         ofPTSD.

G. Vecuronium bromide administration doubles the risk that the prisoner will be aware.

      Apart from the ha2Mds of awareness with high-dose benzodiazepines and narcotics, scientific
      studies have also clearly demonstrated that administration of paralytic agents such as vecuronium
      bromide doubles the incidence of recall and awareness when administered with benzodiazepines
      and other induction agents. 124•125•126 The mechanism of this phenomenon has not been determined.
      Thus, not only does the use of midazolam in the Oklahoma protocol fail to achieve anesthesia, the
      addition of the vecuronium bromide independently increases the chances of the prisoner being
      aware. This combination of drugs is especially likely to result in awareness if the patient is
      stimulated by pain, the terror of paralysis, or the air hunger associated with suffocation.


H. Vecuronium bromide paralysis will obscure signs of extreme pain and suffering during
executions rather than prevent pain and suffering.

Most deaths due to drugs, toxins or disease that occur in humans and animals involve both involuntary
and voluntary movements which occur as the distressed and/or dying brain reacts to its environment.
Grimacing, muscle twitching, vocalization (moaning, crying out), convulsions and "agonal"
respirations all frequently occur during the dying process. While some of these movements, such as
muscle twitching, can be-although not necessarily are-' the result of simple spinal cord reflexes as
the brain dies, others are responses to air hunger, suffocation, panic, and pain and distress that lead to
conscious efforts to rouse, breathe and fight.

These movements serve a critical purpose; they signal that the individual might not be unconscious and
should receive other types of drugs to reduce their awareness or pain. Masking such movements is
inhumane to a dying individual because it prevents recognition and treatment of his or her suffering.

For these reasons, it is unethical to euthanize a companion animal using paralytic agents. The
American Association of Veterinary Medicine forbids use of paralytic agents for euthanasia of
companion animals as the "death drug," even though dying movements can be extremely distressing to
owners. This is because a paralytic agent may mask the animal's suffering and hide indications that
other drugs are needed. 127 The Humane Society of the United States, moreover, explicitly states that,
when an animal is paralyzed,

                 while the animal appears to be unresponsive to sight and sound, he
                 may still feel deep pain and may actually be experiencing fear and


124
    Sandin RH, Endlung G, Samuelsson P, Lenmarken C. Awareness during anaesthesia: a prospective case study. Lancet
1000; 355:707-11
125
    Bischoff P, Rundshagen I. Awareness under general anesthesia. Dtsch Arztebl Int 2011; 108:1-7
126
    Domino KB, Posner KL, Caplan RA, Cheney FW. Awareness during anesthesia: a closed claims analysis.
Anesthesiology 1999; 90: l 053-61
127
    Leary S, Underwood W, Anthony R, et al. American Veterinary Medical Association Guidelines for the euthanasia of
animals: 2013 edition. AVMA, Schaumburg II.
          Case 5:14-cv-00665-F Document 612-2 Filed 02/12/22 Page 38 of 92
                                                                                                                          37


                 panic as he remains aware of his surroundings. For this reason,
                 immobilizing agents are never appropriate for use in euthanasia. 128

In the case of medical care for terminally ill human beings, it would be unthinkable as well as unethical
to remove a patient from a ventilator, and then for appearances sake, paralyze them and leave them to
suffocate in a lingering death-aware of what was happening to them, but unable to cry out for help.
Professional guidelines in human medicine explicitly oppose such practice and state that it is both
unethical and inhumane because it would mask signs of suffering that need treatment. 129•130


I. Injection of Potassium Chloride into a vein causes severe and excruciating pain, like "being
burned alive."

Potassium chloride ( or KCl) is a naturally occurring mineral salt that can be administered orally or
intravenously. Potassium ions perform a number of functions in the human body, many of which
involve activation of channels in cells that regulate the flow of substances in and out of the cells, and
conduct of electrical energy along nerves, muscles and in the heart. Rapid IV administration of
potassium chloride is used in lethal injection protocols to cause rapid onset of a fatal heart arrhythmia,
i.e., to "stop the heart."

Injection of undiluted potassium chloride (e.g. 2 mEq/ml) causes extreme and excruciating p~n, and
therefore in medical practice is only given in very dilute concentrations, and very slowly. Potassium
chloride is never intentionally given "IV push," (i.e. as a bolus in a relatively small [< 100 ml] volume
of fluid), even in total doses of25 mEq. This is because even such a small dose-which is not likely to
produce heart arrhythmias-when diluted in small volumes of fluid (< 1 liter), results in a high enough
concentration of potassium chloride that the drug cauterizes or "sears" the tissues lining the veins when
it comes in contact with them, rupturing cells, destroying tissues in and around the vein and causing
agonizing pain. Concentrations of more than 80-100 mEq/L (milliequivalents per liter) 131 are known to
cause excruciating pain, sometimes described by patients as if someone poured gasoline on their arm
and lit it with a match, or applied a blowtorch to their skin. 132 This pain does not stop after injection is
completed, because the injury to the lining of the blood vessels continues to grow.

I have personally heard a patient scream when a concentration of 40 mEq diluted in 100ml (a
concentration of 400 mEq/L and only about 115th the concentration used in the Oklahoma protocol and


128 The Humane Society of the United States. Euthanasia Reference Manual, 2013. Available at:
https://www.animalsheltering.org/sites/default/files/content/euthanasia-reference-manual.pdf Accessed Nov 2, 2017
129
    Downar l, Delaney JW, Hawryluck L, Kenny L. Guidelines for the withdrawal of life-sustaining measures. Intens Care
Med2016; 42:1003-17
130 Truog RD, Campbell ML, Curtis JR, et al. Recommendations for end-of-life care in the intensive care unit: A consensus

statement by the American College of Critical Care Medicine. Crit Care Med 2008; 36:953-63
131
    The convention for dosage of mineral salts such as potassium chloride is in mEq, or in mEq per liter of whatever fluid in
which they are diluted. A physician must always not only designate the total dose (mEq), but how to dilute the salt (mEq/L)
because both affect the clinical effects. For context, a common dose range of potassium chloride is 25 to 40 mEq, delivered
in l liter of fluid (i.e. a concentration of25 to 40 mEq/L) over 8 to 10 hours. In the Oklahoma protocol, the potassium
chloride is undiluted, and given as a concentration of2 mEq/cc, the equivalent of2000 mEq/L-a concentration that is 50
times greater than that known to cause humans to scream during iajection.
132
    Personal communications by patients to Expert during quality insurance investigations of anesthetic mishaps 1994-2000.
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more than 20 times as concentrated as doses known to cause severe pain) was inadvertently
administered too rapidly. 133

Given the fact that midazolam has no analgesic properties, and has been shown to be associated with a
high probability of awareness in the operating room (see below), and given that the anticipated dose
and concentration of potassium chloride to be administered in the Oklahoma protocol is certain to cause
excruciating pain during injection, it is my expert opinion that the prisoner will certainly be aware of
the injection and will experience excruciating pain. Additionally, because of the administration of
vecuronium bromide prior to the injection of potassium chloride, (which further enhances this
likelihood), it is my expert opinion that it is also very likely that during most executions under this
protocol observers will not see any movements from the awake prisoner that they will recognize as
indicating the prisoner is aware and in pain.




                                                    Summary Opinion


           In summary, it is my expert opinion the Oklahoma, protocol is certain to result in a sensate
           prisoner being aware of severe pain and noxious stimuli, such as sensations of drowning,
           suffocation, terror, and searing pain with injection ofpotassium chloride, even while there
           ma.y be few outward signs ofpain and suffering due to effects of midazolam and or
           simultaneous paralysis by vecuronium.




Dated:




133
      Pucino F, Danielson BD, Carlson JD. Patient tolerance to intravenous potassium chloride with and without lidocaine.
Drug Intell Clin Phann 1988; 22:676-9
      Case 5:14-cv-00665-F Document 612-2 Filed 02/12/22 Page 40 of 92

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Appendix I: Gail A. Van Norman MD Curriculum Vitae
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                                          CURRICULUM VITAE
                                        Gail A. Van Norman, M.D.


Education:

       1973-1977      University of Washington, Seattle,              Honors B.S, Microbiology
                      Washington
       1977-1981      University of Washington School of Medicine,    M.D. with Honors
                      Seattle, Washington

Postgraduate Training:

       1981-1982      Virginia Mason Hospital, Seattle                Internship     Internal Washington
                                                                              Medicine

       1982-1984      Virginia Mason Hospital, Seattle, Washington    Residency       Internal
                                                                                      Medicine

       1986-1988      University of Washington, Seattle, Washington   Residency       Anesthesiology

       1988-1989      University of Washington, Seattle, Washington   Fellowship      Cardiothoracic
                                                                                      Anesthesiology

       1992-1993      University of Washington, Seattle, Washington, Certification    Health Care
                         Department of Biomedical Ethics                              Ethics

       2001           Perioperative Transesophageal                   Testamur
                        Echocardiography Examination

       2011           ASA Business Management Certification           Certification

Faculty Positions Held:

       1989-1994      Clinical Acting Instructor, Department of Anesthesiology, University of Washington,
                          Seattle, Washington
       1994-1995      Acting Instructor, Department of Anesthesiology, University of Washington, Seattle,
                          Washington
       1995-1997      Acting Assistant Professor, Department of Anesthesiology, University of Washington,
                          Seattle, Washington
       1997-2000      Assistant Professor, Department of Anesthesiology, University of Washington, Seattle,
                          Washington
       1997-2000      Adjunct Assistant Professor, Department of Internal Medicine, University of Washington,
                          Seattle, Washington
       2000-2001      Clinical Assistant Professor, Department of Anesthesiology, University of Washington,
                          Seattle, Washington
       2001 -2008        Clinical Associate Professor, Department of Anesthesiology, University of
                          Washington, Seattle, Washington
       2008-          Professor, Department of Anesthesiology, University of Washington, Seattle,
                          Washington
       2008-          Adjunct Professor, Department of Biomedical History and Ethics, University of
                          Washington, Seattle, Washington
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Hospital Positions Held:

       1984-1985       Attending Internist, Jefferson Memorial Hospital, Port Townsend, Washington
       1985-1986       Attending Internist, Highline Community Hospital, Burien, Washington

       1989-1992       Staff Anesthesiologist, Northwest Hospital, Seattle, Washington
       1992-1994       Staff Anesthesiologist, Swedish Hospital, Seattle, Washington
       2000-2008           Staff Anesthesiologist, St. Joseph Medical Center, Tacoma, Washington
       2000-2006       Director, Transesophageal Echocardiography Education, Department of Anesthesiology,
                           St. Joseph Medical Center, Tacoma, Washington
       2003-2004       Clinical Director, Department of Anesthesiology, St. Joseph Medical Center, Tacoma,
                           Washington
       2008-2013           Medical Director, PreAnesthesia Clinic, University of Washington Medical Center,
                           Seattle, Washington
       2010-           Physician Champion, Compliance Officer, Dept of Anesthesiology and Pain Medicine,
                           University of Washington, Seattle WA

Non-Hospital Positions Held:

       1984-1985       Consulting Internist, Spokane Urban Indian Health Center, Spokane, Washington
       1985-1986       Consulting Internist, Seattle Community Health Clinics serving economically
                          disadvantaged patients; for Group Health Cooperative of Puget Sound, Seattle,
                          Washington
       2005-2006       Chair CQI Process, Pacific Anesthesia, Inc., Tacoma, Washington
       2006-2008       Board of Directors, Pacific Anesthesia, Inc., Tacoma, Washington
       2007-2008       Vice President, Pacific Anesthesia, Inc., Bellevue, Washington



Honors:

       1978            Medical-Scientist Traineeship Grant, University of Washington, Seattle, Washington
       1980            Alpha Omega Alpha
       1981            Merck Manual Medicine Award
       1981            John J. Bonica Anesthesiology Award, Department of Anesthesiology, University of
                          Washington
       1985            Award of Merit for Service to the Health Care Needs of Native Americans, Spokane
                          Urban Indian Health Service
       2000            President's Award, Pacific Anesthesia, Inc. Tacoma, Washington
       2008            Mary Jane Kugel Award, Medical Science Review Committee, Juvenile Diabetes
                          Research Foundation International
       2011            Bracher Foundation Residency in Ethics

Board Certification:

       1984            American Board of Internal Medicine
       1990            American Board of Anesthesiology

License to Practice:

       1981-           Washington State
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                                                                                                        42

       1991-2003      Wisconsin

Professional Organizations:

       1984-1987      American Society of Internal Medicine
       1989-2000      King County Medical Society
       1989-2000      Washington State Society of Anesthesiologists; Co-chair, Medical Education
                          Committee, 1994-1997
       1989-2013      American Society of Anesthesiologists; Committee on Ethics, 1992-2013
       2003-2007      Society of Cardiovascular Anesthesiologists; Committee on Ethics; 2003-2007
       2008-2013      American Society of Bioethics and Humanities
       2015-present   International Academy of Law and Mental Health
       2015-present   Overseas Fellow, Royal Society of Medicine

Teaching Responsibllltles:

       Lectures:

       Undergraduate Student Lectures:

       1999-2008      University of Washington, Undergraduate Introduction to Bioethics Course (MHE 411)
                        "Informed Consenr
       2001           University of Washington, Seattle Biomedical Ethics for Medical Students Lecture
                         Series, "Informed Consent''
       2008           University of Washington Dept. of Biomedical History and Ethics: MHE 597C, Informed
                         Consent in Clinical Practice
       2009-2017         University of Washington Dept. of Biomedical History and Ethics: MHE 597C,
                         Informed Consent


       Resident Lectures:

       1992-1994      University of Washington, Department of Anesthesiology, "Clinical Ethical Issues in
                        Anesthesia Practice"
       1994-2000      University of Washington, Department of Anesthesiology, Resident Core Lecture series,
                        "Perioperative Diabetes Managemenr
       1994-2000      University of Washington, Department of Anesthesiology, Resident Core Lecture Series
                        "Anesthetic Implications of Neuromuscular Disease"
       1994-2000      University of Washington, Department of Anesthesiology, Resident Core Lecture Series,
                        "Pathophysiology of lschemic Heart Disease"
       1994-2000      University of Washington, Department of Anesthesiology, Resident Core Lecture Series,
                        "lntraoperative Management of the Patient with lschemic Heart Disease"
       1994-2000      University of Washington, Department of Anesthesiology Resident Core Lecture Series,
                        "Preoperative Evaluation of the Patient for Anesthesia and Surgery''
       1994-2000      University of Washington, Department of Anesthesiology, Resident Core Lecture Series,
                        "CQI: Quality Improvement in Practice"
       1994-2000      University of Washington, Department of Anesthesiology, Resident Core Lecture Series,
                        "Post Operative Cognitive Dysfunction"
       1994-          University of Washington, Department of Anesthesiology, Resident Core Lecture Series,
                        "Clinical Ethical Issues in the Practice of Anesthesiology,"
       1994-          University of Washington, Department of Anesthesiology R2 Core Lecture series,
                        "Ethical Issues of Informed Consent'
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      1994-          University of Washington, Department of Anesthesiology R2 Core Lecture series, "Do
                        Not Resuscitate Orders in the Operating Room"
      1994-          University of Washington, Department of Anesthesiology R3 Core Lecture series,
                        "Ethics of Surrogate Consent''                                             ·
      1994-          University of Washington, Department of Anesthesiology R3 Core Lecture series,
                        "Ethical Issues in Organ Transplantation"
      1994-          University of Washington, Department of Anesthesiology R4 Core Lecture series, R4
                        Seminar: "Allocation of Scarce Resources in a Managed Care Environmenr
      1995           University of Washington, Department of Anesthesiology, Resident Special Evening
                        Lecture Series: Forum on Ethical Issues in Anesthesiology, "Informed Consent and
                        Surrogate Consent: Who Speaks for the Patient?"
      1995           University of Washington, Department of History and Ethics, Ethics Brown Bag Lecture
                        Series, "Ethical Dilemmas in the Operating Room"
      1995, 1997     University of Washington Department of Anesthesiology, Evening Resident Special
                        Workshop, " Fiberoptic Intubation and Management of the Difficult Airway'
      1996           University of Washington, Department of Anesthesiology, Resident Special Evening
                        Lecture Series: Forum on Ethical Issues in Anesthesiology, "Ethical Issues in Organ
                       Transplantation, and The Impaired Practitioner''
      1997           University of Washington, Department of Anesthesiology, Resident Special Evening
                                                                                   11
                        Lecture Series: Forum on Ethical Issues in Anesthesiology, Physician-Assisted
                       Suicide, and the Impaired Physician,"
      1997           University of Washington, Department of History and Ethics; Ethics Brown Bag Lecture
                        Series "DNA in the Operating Room: Should Different Rules Apply?"
      1997           University of Washington, Department of History and Ethics, Ethics Brown Bag Lecture
                        Series "Ethical Pain Management in the Addicted Patient Undergoing Surgery--ls
                        There A Duty to Rescue?"
      1999           University of Washington, Department of Biomedical Ethics and History, Master's
                        Course in Biomedical Ethics, "Informed Consent."
      1999           University of Washington, Department of Biomedical Ethics and History Ethics, Brown
                        Bag Lecture Series, "Who is Captain of the Ship on the Multidisciplinary Team:
                        Lessons from the Operating Room"
      2004           University of Washington, Department of Anesthesiology, Resident Special Evening
                        Lecture Series: Forum on Ethical Issues in Anesthesiology ''Ethics of Organ
                       Transplantation"
      2008-          University of Washington, R2 Core lecture "Introduction to Preoperative Evaluation."
      2008-present   University of Washington CA1 PAC lecture series: "informed Consent/Informed Refusal"
      2010-present   University of Washington Resident Introductory Lecture series: "EHR Integrity'
      2010-present   University of Washington R2 and R3 Core Lectures: "Coding and Documentation"
      2021-present   University of Washington Resident Core Lectures, CA1-3, Ethical Responsibilities of
                        Anesthesiologists


Grand Rounds Lectures

      1994-1996      New England Deaconess Hospital, Boston, Massachusetts: "Ethical Issues in
                        Anesthesia Practice"
      1994           University of Washington, Ethics Grand Rounds, "DNAR in the Operating Room"
      1996           University of Washington, Hematology Grand Rounds, "Antifibrinolytics, Use, Clinical
                        Efficacy, and Cost Effectiveness"
      1998           Providence Medical Center, Department of Surgery, Surgery Grand Rounds "Ethical
                        Issues in Surgical Care: A Panel Discussion"
      1998           University of Washington School of Medicine: Combined Cardiothoracic
                        Surgery/Cardiology Grand Rounds, "Brain Death and Organ Donation"
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2001          Rush-Presbyterian-St. Luke's Medical Center, Anesthesia Grand Rounds, Department
                 of Anesthesiology Chicago, Illinois, "Historical Perspectives on the Ethics of Clinical
                 Research"
2002          University of Pittsburgh Medical Center, Pittsburgh, Pennsylvania, Department of
                 Anesthesiology, Anesthesia Grand Rounds, "Ethical Issues in Brain Death"
2008          University of Washington Anesthesiology Grand Rounds: "Perioperative Management
                 of Pacers and AICDs"
2009          University of Washington Medical Center Combined Anesthesiology and Surgery Grand
                 Rounds "Preoperative Evaluation: Where Have We Been, Where are We Going?"
2009          University of Oklahoma Anesthesiology Grand Rounds, "Is a Free Pen Just a Free Pen?
                 Conflicts of Interest in Clinical Practice, Research and Industry." February, 2009.
2009          University of Washington Department of Anesthesiology; DNA in the Operating Room
                 April, 2009
201 O         University of Washington Department of Orthopedics; Preoperative Testing: Should
                 Your Patient have a Preoperative Chest XRay? April, 2010.
201 O         University of Washington Department of Obstetrics and Gynecology: Preoperative
                 Testing: Less is More. May, 2010
2011          MD Anderson Cancer Center; Houston Texas. Dept of Anesthesiology. Fraud and
                 Plagiarism in Medical Research. February 14, 2011
2012          MD Anderson Cancer Center: Houston Texas. Dept of Anesthesiology. Physician
                 Assisted Suicide and Euthanasia. April 18, 2012
2012          MD Anderson Cancer Center, Houston Texas. Risk Management Department. Fraud
                 and Plagiarism in Medical Research. April 18 2012
2012          Overlake Medical Center Department of Anesthesiology: Lifeboat Ethics. April, 2012
                 Bellevue, WA
2018          University of Washington "Respecting Patient Privacy". Feb 28, 2018

2021          University of Washington. Compliance and Key Documentations Changes in EPIC.
                 January 20, 2021



Resident Journal Club:

1995          University of Washington, Department of Anesthesiology "Use of Magnesium for Cardiac
                Surgery Patients"
                                                                       11
1996          University of Washington, Department of Anesthesiology; Anesthesia for IVF,
                 Teratogenicity of Anesthetics, and Anesthesia and the Breast-Feeding Patienr
                                                                         11
1996          University of Washington, Department of Anesthesiology, N2O: Friend or Foe?',

Faculty Lectures:

1995          University of Washington, Department of Anesthesiology, CME lecture, "Ethics and the
                 Examiners"

Workshops:

1994-1996     University of Washington, Department of Anesthesiology, CME Workshop, "Difficult
                 Airway"
1996          University of Washington School of Medicine CME Workshop, "Aprotinin and Other
                 Antifibrinolytics," Blood Therapy: Applications and Alternatives"

Nursing Lectures:
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        1996-1997      University of Washington Medical Center, Pre-Surgical Clinic Nursing Lecture Series;
                          "Preoperative Assessment of the Patient for Anesthesia"
        1999            University of Washington Medical Center Operating Room, Nurses Weekly Conference,
                          "Informed Consent in the Operating Room."
        1999           University of Washington, Association of Operating Room Nurses, Perioperative Nursing
                          Internship Program "Informed Consent in the Operating Room"
        2000           University of Washington, Department of Radiology Nursing Staff Lectures, "Sedation of
                          the Patient with Severe Liver Disease for TIPS Procedure"
       2008            University of Washington Medical Center Operating Room Nursing Conference,
                          "Informed Consent in the Operating Room."
       2011            Overlake Medical Center, Bellevue WA. Perioperative Nursing Education. DNA in the
                          OR.
       2020-present    PreAnesthesia Clinic Daily Huddle "Covid Momenr-developments in covid pandemic,
                          including viral behavior, vaccine development and variants of the virus.


Editorial Responsibilities:

       1997-2003       Consulting Editor, ASA Syllabus on Ethics, American Society of Anesthesiologists, Park
                          Ridge, Illinois
       2004-           Editor, ASA Syllabus on Ethics, American Society of Anesthesiologists, Park Ridge,
                          Illinois.
       2009            Editor-in-Chief, Clinical Ethics for Anesthesiologists, a Cambridge University Press
                          Case-Based Textbook.
       2012-2017       Associated Editor, North America Clinical Ethics, Journal of Bioethical Inquiry.

       2019            Editorial Board Member, ClinicalKey Procedures, Elsevier Inc, Philadelphia PA

       2021            Editorial Board Member, ClinicalKey Clinical Reviews, Elsevier Inc, Philadelphia PA
       2020-2021       Invited Editor, Journal of Bioethical Inquiry, Springer, Australia


Special National/International Responsibilities:


       1992-2014       Committee on Ethics, American Society of Anesthesiologists, Park Ridge, Illinois
       1994            Panelist, American Society of Anesthesiologists Annual Meeting, Panel on Ethics:
                           Ethical Issues in Anesthesiology
       1995            Moderator Ethics Panel, American Society of Anesthesiologists, Annual Meeting, "Is
                          There a Role for the Anesthesiologist in Physician-Assisted Suicide?"
       1996-2006       Moderator Clinical Forum, American Society of Anesthesiologists, Annual Meeting,
                          "Ethics/Geriatrics"
       1996-1999       Moderator Problem-Based Learning Discussion, American Society of Anesthesiologists
                          Annual Meeting, Ethics cases
       1997            Panelist, American Society of Anesthesiologists Annual Meeting Panel on Education,
                          "Can Ethics be Taught?"
       1998            Workshop Organizer and Lecturer, American Society of Anesthesiologists, "Teaching
                          Clinical Ethics in Anesthesia Residency"
       1999            Invited Participant, Duke University, Durham, North Carolina, Second Duke Conference
                          on Surgery and the Elderly
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                                                                                               46

2001        Panelist, American Society of Anesthesiologists Annual Meeting Panel on
                Professionalism, "Defining and Demanding Excellence in Anesthesia Job
                Performance"
2004        Panelist International Liver Transplantation Society Annual Meeting, "Ethics of Liver
                Transplantation, NHB/DCD Donors: Perioperative Issues in Liver Transplantation"
2005        Representative for the American Society of Anesthesiologists (one of four), First
                National (UNOS) Conference on Donation After Cardiac Death, Philadelphia !please
                see Bernat J.L. et al. Report of a National Conference on Donation After Cardiac
                Death. Am J Transpl 6: 281-91, 2006.)
2005-       Ethics Reviewer, Research and Funding Department, Juvenile Diabetes Research
                Foundation, New York
2006        Panelist, American Society of Anesthesiologists Annual Meeting, Panel on
                Professionalism, "Role of the Anesthesiologist in End-of-Life Care -Do physicians
                have conflicts of interest?"
2006        Panel Moderator, American Society of Anesthesiologists Annual Meeting, Panel on
                Professionalism, "Working Hard-or Sleeping at the Wheel. Should the ASA adopt
                aviation-style standards for work hours for anesthesiologists?"
2006        Panel Moderator, American Society of Anesthesiologists Annual Meeting: Panel on
                Ethics, "Should Anesthesiologists Participate in Executions?"
2006-2008   Ethicist, Medical Science Review Committee, Juvenile Diabetes Research Foundation
                International.
2007        Panelist, ASA Panel on Ethical Issues in Perioperative Medicine
2007        Panelist, ASA Panel on Professionalism in Multidisciplinary Teams: Palliative Care and
                Multidisciplinary Pain Management
2007        Panelist, ASA Panel "What is Professionalism? Do I Need it? Do I Have it?"
2007        ASA Clinical Forum: Special Topics in Bioethics
2008-2011   Chair, American Society of Anesthesiologists Committee on Ethics
2008        Panelist, ASA Panel "Lethal Injection."
2008        Panelist, ASA Panel "DCD-do we need it? Con."
2008        Moderator, ASBH panel "Opioid Pain Medication for Chronic Nonmalignant Pain: A
                Right or a Wrong?" American Society of Bioethics and Humanities
2008        Invited lecturer: 37th Annual Advances in Family Practice and Primary Care, August.
                Seattle WA: "DNA and Other Advance Directives in the OR"
2008        Invited Lecturer: AANA. "Preoperative Testing" and "Perioperative beta blockade."
                September. Spokane, WA
2009        Refresher Course Lecture: Ethics for Anesthesiologists in the 21st Century. New
                Orleans LA.
2010        Refresher Course Lecture: Protecting Vulnerable Subjects in Research: Ethical
                Obligations to Human and Animal Research Subjects. San Diego, CA
2010        Panelist, ASA Panel "Health Care Reform." ASA Annual Meeting, San Diego, CA.
2011        Invited lecturer: "DNA Orders in the Perioperative Period." Overlake Medical Center,
                Bellevue Washington.
2011        Should Anesthesiologists Participate in Physician-Assisted Suicide? Pro and Con.
                American Society of Anesthesiologists Annual Meeting. Chicago, II. 2011
2012        Invited Lecturer: Informed Consent and Informed Refusal in the OR. Puget Sound
                Multi-Chapter AORN Coalition. Kent, WA Jan 2012
2012        Invited lecturer, American Society of lnterventional Pain Physicians Refresher Course
               and Review. Fraud in Anesthesia Research, and Ethics of lnterventional Pain
                Management. April 2012 Phoenix, AZ.
2012        Invited lecturer, American Society of lnterventional Pain Physicians Refresher Course
               and Review. Fraud in Anesthesia Research, and Ethics of lnterventional Pain
                Management. August 2012 San Francisco, AZ.
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       2012           Invited Lecturer: 41 st Annual Refresher Course for Nurse Anesthetists. Ethics of
                          Informed Consent; Ethics of Informed Refusal; Ethical Issues in Preoperative
                          Testing. Nov 2012 Orlando, FL.
       2012           Invited Lecturer: Idaho State Society of Anesthesiologists: The Ethics of Preoperative
                          Testing. Boise, Idaho, Spring 2012.
       2013           Invited lecturer, American Society of lnterventional Pain Physicians Refresher Course
                          and Review. Ethics of lnterventional Pain Management. February 2012 Phoenix, AZ
       2013           Invited lecturer, American Society of lnterventional Pain Physicians Refresher Course
                          and Review. Ethics of lnterventional Pain Management. October 2013 Denver, CO
       2013           Panelist: Controversial Cases in Organ Donation and End-of-Life Care, American
                          Society of Anesthesiologists Annual Meeting, San Francisco CA.
       2014           Panelist: Controversies in Organ Transplantation, American Society of
                          Anesthesiologists Annual Meeting, New Orleans LA
       2014           Ethical Issues Regarding Open Access Journals, American Society of Bioethics and
                          Humanities Annual Meeting, San Diego CA.
       2015           Harvard Anesthesia Update 2015. Point/Counterpoint. Physician Involvement in Lethal
                          Injection. May 2015
       2015           Invited lecturer, American Society of lnterventional Pain Physicians Refresher Course
                         and Review. Ethics of lnterventional Pain Management. Chicago 11, July 2015
       2015           Faculty, Moya Annual CANA Refresher Course. Orlando, FA. Nov 2015
       2020           Invited Panelist, When does the anesthesiologist get to decide? Conscientious
                         Objection: What it ls-and What it Isn't. American Society of Anesthesiologists
                         Annual Meeting. (held virtually due to COVID 19)


Special Regional Responsibilities:

       1991-1993      Member, Medical Ethics and Practice Committee, King County Medical Society, Seattle,
                         Washington,
       1992-1994      Member, Professional Liability Panel, King County Medical Society, Seattle, Washington
       1992-1996      Co-chair, Committee on Education, Washington State Society of Anesthesiologists,
                         Seattle, Washington
       1995           Program Chair, Washington State Society of Anesthesiologists Spring Meeting,
                         "Controlling Our Destiny: Leadership Opportunities Beyond the Operating Room"
       1995           Program Chair, Washington State Society of Anesthesiologists Fall Meeting, "The
                         Difficult Airway: Clinical Approaches and Risk Management''
       1996           Program Co-Chair, Washington State Society of Anesthesiologists Spring Meeting,
                         "Preoperative Issues for the Surgical Patienr
       1996           Representative, Washington State Society of Anesthesiologists, ASA Legislative
                         Session, Washington, DC
       2021           Group/Discussion leader for University of Washington Department of Bioethics and
                         Humanity's annual Summer Seminar in Healthcare Ethics. Seattle WA. August
                         2021




Special Local Responsibilities:

       1991-1993      Ethics Committee, Swedish Hospital, Seattle, Washington
       1995-2000      Associate Medical Director, Pre-surgery Clinic, University of Washington Medical
                         Center, Seattle, Washington
       1996-1997      Member, Advisory Committee on Ethics, University of Washington Medical Center,
                         Seattle, Washington
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      1998-2000       Chair, Continual Quality Improvement University of Washington Medical Center,
                         Department of Anesthesiology
      1997-2000       Co-chair, Advisory Committee on Ethics, University of Washington Medical Center,
                         Seattle, Washington
      1999-2000       Acting Chief, Cardiothoracic Anesthesia, University of Washington Department of
                         Anesthesiology
      2006 -          Regional Ethics Committee member, Franciscan Health Care Systems, Tacoma,
                         Washington
      2006-2008       Member, Regional Committee on Organ Transplantation, Franciscan Health Care
                         System, Tacoma, Washington

      2008-2009       Member, Joint Transfusion Committee, HMC and UWMC
      2009-2010       Member, Standards and Finance Committee, University of Washington Department of
                        Anesthesiology and Pain Medicine
      2010-2016       Member, Business Excellence Committee, University of Washington Physicians
      2010-           Chair/co-chair Standards and Finance Committee, University of Washington Department
                        of Anesthesiology and Pain Medicine
      201 a-present     Compliance Officer, Department of Anesthesiology and Pain Medicine, University of
                        Washington, Seattle WA.
      2014-present    Member, Dept of Anesthesiology and Pain Medicine Promotions Committee




Research Funding:

      University of Washington Department of Anesthesiology; "The Effects of PTCA vs. CABG in Reducing
                  Postoperative Cardiac Morbidity in Patients Undergoing Noncardiac Surgery''; 1995; $500
                  [Investigators: Chan V, Van Norman G, Posner K]

      Washington State Society of Anesthesiologists; The Effects of PTCA vs. CABG in Reducing
                Postoperative Cardiac Morbidity in Patients Undergoing Noncardiac Surgery; 1995; $2000;
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      Washington State Society of Anesthesiologists: Echocardiography Screening in the PreAnesthesia
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     present

10. Medical editor and writer, Clinical Reviews, Elsevier Scientific Publications, Philadelphia, 2021
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                                                                                                     59


Abstracts:

1. Van Norman G. Pavlin E, Eddy C, and Pavlin J. Hemodynamic and Metabolic Effects of Aortic
   Unclamping Following Emergency Surgery for Traumatic Thoracic Aortic Tear in Shunted and
   Unshunted Patients. Presented to the 50th Annual Meeting of the American Association for the
   Surgery for Trauma, 1989.

2. Van Norman G. Pavlin E, Eddy C, and Pavlin J. Hemodynamic and Metabolic Effects of Aortic
   Unclamping Following Emergency Surgery for Traumatic Thoracic Aortic Tear in Shunted and
   Unshunted Patients. Presented to the American Society of Anesthesiologists Annual Meeting, 1989.

3. Van Norman G. Spiess B, Lu J, et al. Aprotinin Versus Aminocaproic Acid in Moderate-to-High-Risk
   Cardiac Surgery: Relative Efficacy and Costs of Transfusion. Anes Anal Supplement, March 1995.

4. Kenney M, Van Norman G. Hague G, et al. Variations in Ionized Magnesium During
   Cardiopulmonary Bypass. Presented to the Cardiopulmonary Bypass Meeting, San Diego,
   California, 1995.

5. Pavlin J, Gunn H, Van Norman G. et al. Optimal Propfol/Alfentanil Combinations for Supplementing
   N20 For Outpatient Surgery. Presented to the Annual Meeting of the American Society of
   Anesthesiologists, 1997. Anesthesiology 87(3S) Supplement 308A, 1997.

6. Van Norman G. Posner K, Wright I, et al. Adverse Cardiac Events Following Noncardiac Surgery in
   Patients with Prior PTCA versus Normal Patients, and Patients with Nonrevascularized CAD.
   Presented to the Scientific Sessions of the American Heart Association, Orlando, Florida, 1997,
   published in supplement to Circulation, October 1997.

7. Simmons E, Van Norman G, Robledo J, et al. Effect of Hemofiltration on Aprotinin Activity in
   Patients Undergoing Cardiopulmonary Bypass. Presented to WARC (Western Anesthesia
   Residents Conference, 1998.

8. Lee J, Karjeker S, Van Norman GA et al. Advance Directives in the Perioperative Period.
   Presented to WARC (Western Anesthesia Residents Conference), 2009

9. Karjeker S, Van Norman G, et al. Advance Directives in the PreAnesthesia Clinic. Presented at the
   American Society of Anesthesiologists' Annual Meeting, New Orleans, LA. 2009

10. Rooke, G.A., Natrajan, K., Lombaard, S., Dziersk, J., Van Norman, G., Poole, J.: Initial experience
    of an anesthesia-based service for perioperative management of CIEDs. Anesthesiology 117:A835,
    2012.
11. Shah A, Ma K, Rooke GA, Van Norman G. Pulmonary HTN in the perioperative patient. (working
    title). Accepted to IARS Annual Meeting, Honolulu HI. March 2015.

12. Rooke A, Natrajan K, Lombaard S, Dziersk J, Yan Norman G, Poole J. Poster: Initial experience of
    an anesthesia-based service for perioperative management of CIEDs. ASA American Society of
    Anesthesiologists Annual Meeting, Washington DC, 2012
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OTHER


        International and National Invitational Lectures:


            1. "DNA in the OR: Am I a Bad Doctor if I Let My Patient Die?" American Society of
               Anesthesiologists, Refresher Course, San Francisco, CA, June 29, 1996.

           2. "Misinformed Consent: Is This a Problem in the Operating Room?" American Society of
              Anesthesiologists Refresher Course, San Francisco, CA, June 29, 1996.

           3. "Ethics: A New Hot Topic in Resident Education," The Society for Education in Anesthesia Fall
              Meeting: Educational Strategies for the 21st Century, New Orleans, 1996.

           4. "Ethics: A New Hot Topic in Resident Education," The Society for Education in Anesthesia Fall
              Meeting: Educational Strategies for the 21st Century, San Di_ego, CA, October 1997.

            5. "Misinformed Consent: A Problem in the Operating Room?" American Society of
               Anesthesiologists Workshop in Practical Bioethics for the Anesthesiologist, Boston, MA, 1997.

            6. "Brain Dead, or Only Mostly Dead? What's the Difference, I'm Just the Anesthesiologist!"
               American Society of Anesthesiologists Workshop in Practical Bioethics for the Anesthesiologist,
               Boston, MA, 1997.

            7. "PTCA prior to Noncardiac Surgery." World Congress of Cardiovascular Anesthesiologists,
               Santiago, Chile, 1998.

            8. "Ethics Case Discussion: Assessing Cardiac Risks for Patients with Coronary Artery Disease
               Undergoing Noncardiac Surgery" and "Ethics Case Discussion: Assessing Brain Death" Rush-
               Presbyterian-St. Luke's Medical Center, Chicago Illinois, Visiting Professorship, 1998

            9. "Brain Death: What Every Anesthesiologist Should Know" Midwest Anesthesia Conference and
               Peri-Anesthesia Care Symposium, Chicago, II, 1999.

            10. "Ethical Issues in the Operating Room," American Society of Anesthesia Technologists and
                Technicians, Seattle, WA, 2000.

            11. "Ethical Issues in the Operating Room," American Society of Extracorporeal Technologists,
                Seattle, WA, 2000.

            12. "Ethical Boundaries of Persuasion: Coercion and Restraint in Pediatric Anesthesia Practice,"
                Mid-Year SAMBA meeting, New Orleans, LA, 2001.

            13. "Ethics: Brain Death and Organ Donation" Rush-Presbyterian-St. Luke's Medical Center and
                Rush University, Chicago, Illinois Department of Anesthesiology and Undergraduate Medical
                School; Inaugural Speaker, Katalin Selemczi MD Memorial Lecture Series in 2001

            14. "Donation After Cardiac Death-Stretching the Definitions of Death Too Far?" Invited lecturer;
                European Society of Anesthesiology, Copenhagen Denmark, May 2008.

            15. "Conflicts of Interest: Industry Reps." February 2009; Visiting Professor, University of
                Oklahoma Department of Anesthesiology. Oklahoma City, OK
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  16. "DNA in the Patient Undergoing Surgery and Anesthesia." Sept 2009 Primary Care Medicine.
      Seattle, WA

  17. Perioperative Beta Blockers." National Association of Nurse Practitioners. Aug 2010. Seattle,
      WA

  18. Ghosts of OR Cancellations Past and Present." Combined WSSA, BCAA international meeting.
      Dec 201 o (Elizabeth Wako MD and Gail Van Norman MD speakers)

  19. Ethics of Organ Donation After Cardiac Death. Society for Cardiovascular Anesthesiologist.
      Annual Meeting, April 2011. Savannah, Georgia.

  20. Ethics of Organ Donation After Cardiac Death. Dept of Anaesthesiology and Intensive Care, St.
      Mary's Hospital. London, UK. August 2011.

  21. Physician-assisted Suicide and Euthanasia. Bracher Foundation. Hermance, Switzerland,
      August 2011.

  22. Fraud in Publication and Medical Research. Dept of Anaesthesiology and Intensive Care
      Medicine, University of Geneva. Geneva, Switzerland. Sept 2011.

  23. Informed Consent and Informed Refusal in the Operating Room. AORN annual meeting,
      Seattle, WA Jan. 2012

  24. Fraud and Plagiarism in Research. Risk Management Division, MD Anderson Medical Center,
      Houston TX, April 18, 2012

  25. Physician-Assisted Suicide and Euthanasia, Department of Anesthesiology, MD Anderson
      Medical Center, Houston TX, April 18, 2012

  26. Ethics in Anesthesiology. Annual Review Course for Certified Nurse Anesthetists. Orlando
      Florida, November 2012

  27. Invited Lecturer: Ethics of lnterventional Pain Management. ASIPP. Phoenix, AZ. Feb 2012

  28. Invited Lecturer: Ethics of lnterventional Pain Management. ASIPP. San Francisco CA Aug
      2012.

  29. Invited Lecturer: Ethics of lnterventional Pain Management. ASIPP. Phoenix, AZ.. July 2013

  30. Invited Lecturer: Ethics of lnterventional Pain Management. ASIPP. Denver CO; Oct 2013

  31. Invited Lecturer; Controversial Cases in Organ Transplantation: clinical forum. American
      Society of Anesthesiologists Annual Meeting. San Francisco CA. Oct 2013

  32. Invited Lecture: Ethics of DCD Organ Donation. St. Mary's Hospital Dept of Anesthesiology and
      Critical Care, London UK. Dec 2014

  33. Invited Lecture: DNA in the OR. London Soc Anesthesiology, UK. Dec 2014
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     34. International Academy of Law and Mental Health. Moderator: Brain Death, Personhood, Body
         Integrity: l=thical and Legal Considerations in Vital Organ Transplantation. Vienna Austria July
         2015

     35. Invited Lecturer: Harvard Anesthesia Update Spring 2015. Pro/Con Debate: Should Physicians
         Participate in Lethal Injection.

     36. Invited Lecturer: Ethics of lnterventional Pain Management. ASIPP, Chicao II. July, 2015

     37. Keynote Speaker: Terminal Sedation in Pediatric Sedation: Suffering, Palliation         and
         Transcendance (working title). Conference for Pediatric Sedation Outside of the Operating
         Room. Cancun, Mexico Sept 2015

     38. Invited Ethics Lecturer: Moya Review Course for Nurse Anesthetists. Orlando Fl, November
         2015

     39. Invited Participant; 2015 Alumni Meeting of the Scholars of the Bracher Foundation, Geneva
         Switzerland, June 16-18, 2015.

     40. Invited Speaker: 2016 World Congress of Anesthesiologists. Ethics Section. Hong Kong, Aug
         27-Sept 1, 2016

     41. Invited Lecturer; Medical Professionalism. St. Mary's Hospital Department of Anesthesiology
         and Critical Care. London, UK. July 2016

     42. 2017 International Academy of Law and Mental Health. Invited panelist, moderator. Ethics of
         Psychosurgery. Prague, Czech Republic, July 2017

     43. 2017 Mazama Spine Summit, Mazama WA. Invited Speaker: What is Professionalism and the
         Practice of Medicine? Lessons from the Michael Jackson Case.

     44. 2019 International Academy of Law and Mental Health. Invited panelist, moderator. Physician
         Assisted Suicide in the United States: Current Status. Rome, Italy. July 2019.

     45. Bracher Foundation Reunion of Scholars, 2019. Lethal Injection in the United States: personal
         experience as an expert witness for the prisoner. Geneva, Switzerland. June 2019

     46. 2022 International Academy of Law and Mental Health. Invited moderator and lecturer. Brain
         Death: does the concept still work? Scheduled for July 21, 2022. Lyon, France.



Regional Invitational Lectures:


1.   "Treatment of lntraoperative Emergencies: Wheezing; Inability to Ventilate" CME Lecture,
     Washington State Society of Anesthesiologists, Seattle, WA, 1991.

2.   Ethical Issues in Anesthesiology," Washington State Society of Anesthesiologists, Moderator and
     11



     CME Lecturer, Seattle, WA, 1993.

3.   Washington State Association of Nurse Anesthetists, Tukwila, Washington "Ethical Issues in
     Anesthesia Practice", 1995.
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4.   Washington State Association of Nurse Anesthetists "Ethical Issues in Anesthesia Practice"
     Seattle, WA, 1998.

5.   "Management Issues In the Preoperative Clinic." Society for Ambulatory Anesthesia (SAMBA),
     Seattle, Washington, 1999.

6.   "Physiology of Perioperative Myocardial Blood Flow." Washington State Society of Nurse
     Anesthetists, Seattle, WA, 1999.

7.   "Ethical Issues in the Operating Room." American Society of Anesthesiology Technologists, Seattle,
     WA, 2000.

8.   "DNA orders in the Operating Room," Combined Anesthesia and Surgery Grand Rounds,
     Southwest Washington Medical Center, Vancouver, WA, 2001.

9.   "Medical Ethics: Balancing Patient Advocacy and Managed Care." Western Pension and Benefits
     Conference, Seattle, WA, 2003.

10. "Conscious Sedation for Radiological Procedures in the Outpatient," Northwest Hospital Radiology
    Department, Seattle, WA, 1991.

11. Instructor, Certified Post Anesthesia Nurse (CPAN) Certification Course, Northwest Hospital,
    Seattle, WA, 1991.

12. Conflicts of Interest with Industry. AORN winter meeting, Kent WA, 2009

13. "Preoperative Testing." Wash. State Nurse Anesthetists. Sept 2009, Spokane, WA

13. "Implementing Intra-Operative Glucose Control: What Does it Take?11 Washington State Hospital
    Association. April 2014, Seattle, WA

14. "Who's Doing Your Surgery and Anesthesia? Ethical Issues in Informed Consent in Medical
    Direction and Overlapping Surgeries." Washington Ambulatory Surgery Association 2018
    Conference. November 2018, Seattle WA.

15. The MAD physician and why he is a constant danger to your patients and your institution. Ethical
    management of the abusive physician in the operating room. Washington Ambulatory Surgery
    Association 2019 Conference. November 2019, Everett WA.

16. Would You Like Some Fish with Your Propofol? Reducing environmental contamination from the
    Operating Room. Washington Ambulatory Surgery Association Conference, November 2021


Invited Journal Reviews:


1.   Invited Journal Reviewer, cardiovascular anesthesia, Anesthesia and Analgesia, 1998 to present.
2.   Invited Journal Reviewer, medical ethics, Anesthf!siology, 1998 to present.
3.   Invited Journal Reviewer, medical ethics, Journal of Obstetrics and Gynecology, 1998.
4.   Clinical Reviewer, FirstConsult. Medical website for primary care physicians, Elsevier publications,
     London UK. [www.firstconsult.com], 1998 to present.
5.   Invited Journal Reviewer, medical ethics, Mayo Clinic Proceedings, 2006-2009.
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       6.   Invited Journal Reviewer, Journal of Philosophy, Ethics, and Humanities, 2007.
       7.   Invited Journal Reviewer, European Journal of Anaesthesiology, 2013
       8.   Invited Journal Reviewer, PLos One, 2021

       Web Authorships
       1. Update Author, Anesthesia, 6th Edition, on-line version. Ron Miller MD, Editor. Elsevier Scientific
               Publications, Philadelphia. [www.anesthesiatext.com] 2004 to present.

       2. Update Author, Sleisinger and Fordtran's Gastrointestinal and Liver Disease, 'lfh Edition, on-line
              version. Mark Feldman MD, Editor. Elsevier Scientific Publications, Philadelphia
              [www.sfgastro.com], 2003 to 2006.

       3. Update Author, Diseases of the Heart, 6th Edition, on-line version. Eugene Braunwald MD, Editor.
              Elsevier Publications, Philadelphia [ www.branwalds.com], 2004 to present.

       4. Update Author, Murray and Nadel's Textbook of Respiratory Medicine, on-line version. Robert J.
              Mason MD, John F. Murray MD, V. Courtney Broaddus MD, and Jay A Nadel MD, editors.
              Elsevier publications, Philadelphia [www.respmedtext.com], 2005-2006.

       5. Update Author, Drugs for the Heart, on-line version. Lionel H Opie MD and Bernard J Gersh MD,
              editors. Elsevier publications, Philadelphia [www.opiedurgs.com], 2005 to present.

       6. Update Author, Clinical Gastroenterology and Hepatology, on-line version, Wilfred M Weinstein MD, C
              J Hawkey MD, J Bosch MD, editors. Elsevier publications, Philadelphia
              [www.clingastrotext.com], 2005-2006

       7. Medifile Author for FirstConsult, Medical website for primary care physicians. Elsevier publications,
               London UK [www.firstconsult.com], 1998 to 2006

       8. Medical Writer, Procedures Consult, Anesthesia Procedures. Elsevier publications, Philadelphia, PA.
              2007-2008

       9. Review and update Procedures Consult for Anesthesia, Surgical, Cardiovascular, and Primary Care
              Procedures. Elsevier publications, Philadelphia PA. 2020-2021




       Miscellaneous:
       Consulting Anesthesiologist, Woodland Park Zoological Society, 1992-2002.
       Medical writer Handbook for Stoelting's Anesthesia and Co-Existing Disease, 3rd Edition 2009
       Content/formatting editor, Journal of American College of Cardiology 2015-2020
       Medical Writer, Journal of American College of Cardiology 2016-present

Updated, January 2022
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Appendix II: Gail Van Norman MD Depositions and Court Testimony in the Last 4 Years


   1. 2018/2019: Jason McGehee, et al. v. ASA Hutchinson et al. US District Court, Eastern District of
      Arkansas, Little Rock Division. Testimony for the plaintiffs (prisoners). Capital punishment case.
      Expert testimony regarding lethal injection drugs. Defendants prevailed.

   2. 2018. Wickland V. Swedish Health Services, Swedish Neuroscience Institute and Johnny B
      Delashaw MD (Seattle, WA). For plaintiff (patient). Deposition given regarding informed consent,
      concurrent surgical cases, and obligation of colleagues and institutions to control abusive behavior in
      the operating room. Case settled in favor of plaintiff.

   3. 2018 : James S Goff MD v. State of Washington, Department of Social and Health Services. For
      the plaintiff (physician). Case of a physician (Goff) regarding alleged negligent investigation revocation
      of license over fraudulent criminal complaints against the physician that were later proven to be false,
      and to have further been proven in court to have been falsified by a state investigator. Deposition
      given regarding career impact on physicians adsing out of the negligent process. Verdict in favor of
      plaintiff.

   4. 2020: Expert regarding informed consent in human subjects research: Butler and Holland v. Juno
      Therapeutics (Houston, TX). For plaintiffs (patients): deposition regarding the standards and federal
      regulations for informed consent for human subjects in clinical research. Case settled in favor of
      plaintiffs.

   5. 2020: Murdoch v. Swedish Health Services and Johnny B. Deleshaw. (Seattle WA) For plaintiff
      (patient). Deposition regarding informed consent, and coercion. Case settled in favor of plaintiff.

   6. 2020: EC v. Presbyterian Healthcare Services, et al. (Alberqueque, NM). For plaintiff. (patient).
      Deposition regarding postoperative delirium and management of sexual assault in the workplace.
      Case settled in favor of plaintiff.

   7. 2021: Roane, et al. v Barr. Expert regarding the effects of lethal injection drugs on prisoners
      undergoing judicial execution. Declaration and testimony before the Washington DC Federal Court of
      Appeals, January 2021. Case decided in favor of the plaintiffs (prisoners). Overturned by U.S.
      Supreme Court without hearing.

   8.   2021: Expert testimony for Kim v. Washington State Medical Commission. For defendant
        (physician) Ethics of physician requests and use of patients, employees, models, social partners and
        others for educational physical examination. Case determination pending.

   9.   2022: King Vs. Parker, et al. State of Oklahoma. For plaintiffs. Deposition regarding lethal
        injection drugs. Case ongoing.
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Appendix III: Materials Relied Upon and/or Reviewed



In addition to materials previously mentioned, I have also reviewed

   •   Several publications by media eyewitnesses to the execution of inmates involving the use of
       midazolam as detailed and footnoted in this report.
   •   Autopsy reports of over 300 prisoners executed in the United States by lethal injection 3 7 of
       which were obtained by Noah Caldwell for National Public Radio in 2020 through the Freedom
       of Information Act. Three additional reports, those of Billy Ray Irick, Donnie Johnson and John
       Grant, were supplied by their attorneys. This does not represent a complete list of prisoners
       executed using midazolam, as some of the autopsy files may not have been released, and many
       prisoners did not have autopsies.
   •   Published studies, articles, reviews and textbooks and media accounts of executions, including
       those cited and footnoted in my report and others as noted.
   •   Materials supplied by attorneys:

         o   A document signed by Scott Crow, Director of Oklahoma Department of Corrections,
             dated 2/20/2020 and beginning "Execution of Inmates Sentenced to Death"
         o   Transcript of court testimony of Dr. Joseph Antognini dated. 1/10/2022
         o   Transcript of court testimony of Julie Gardner dated 1/10/2022
         o   Transcript of court testimony of Meghan LeFranscois dated 1/10/2022
         o   Transcript of court testimony of Dr. Michael Weinberger dated 1/10/2022
         o   Transcript of court testimony of Dr. Ervin Yen dated 1/10/2022
         o   Expert Opinion of Michael Weinberger MD, Case no. CIV-14-665-F dated January 11,
             2021
         o   Expert report of Dr. Joseph Antognini to the US Western District Court for the Western
             District of Oklahoma dated January 15, 2021
         o   Expert Report of Charles Buffington, PharmD, to the US District Court for the Western
             District of Oklahoma, No 14-cv-665-F
         o   Oklahoma Department of Corrections Service Log Stouffer dated 12/9/21
         o   A document disclosed by defendants labeled "Grant OAG - 019353-OAG- 019353":
             a handwritten document that appears to have been made by a DOC witness containing
             notes regarding the events in the John Grant execution
         o   A file labeled Grant ECG OAC that contains a series of EKG strips from the execution of
             John Grant.
         o   A document entitled Oklahoma Department of Corrections Correctional Service Log
             OAG - 019037-OAG- 019042 dated 10/28/21:
         o   A document entitled ME and Tox reports from the Office of the Chief Medical Examiner
             containing the autopsy report and toxicology report for John Grant.
         o   A file containing photographs entitled ·"OAG-019643-AG-019742", "OAG-019643-AG-
             019842", "OAG-019643-AG-019942", OAG-019643-AG-020009" and OAG-020010-
             OAG-020087" from the John Grant autopsy
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o A document entitled: Richard E. Glossip et al. v. Randy Chandler et al. Transcript for
  motion of preliminary injunction before the Honorable Stephen P. Friot United States
  District Judge January. 10, 2022
o A document entitled Hahn 2021-10-25 (Doc 537) Pl Hrg Transcript provided by counsel.
o Affadavit of Julie Gardner dated Nov 17, 2021
o Affadavit of Meghan LeFrancois dated Nov 17, 2021
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Appendix IV: Prisoners executed using 3-drug midazolam protocols in the United States
with autopsy files and measured blood levels of midazolami

 Name                            State          Date of Execution        Site of blood
                                                                         sample/Midazolam
                                                                         dru2 level (nwml)
 Banks, Chadwick                 FL             11/13/14                 Fem/1900
 Davis, Eddie                    FL             7/10/14                  Iliac /1500
 Henry, John                     FL             6/8/14                   Iliac /1700
 Hendrix, Robert                 FL             3/20/14                  Iliac /1000
 Henry, Robert                   FL             7/10/14                  Iliac /1500
 Howell, Paul                    FL             2/26/14                  Iliac /2700
 Morva, William Charles          VA             7/6/17                   Iliac /2300
 Warner, Charles                 OK             1/15/15                  Femoral /3200
 Samra, Michael                  AL             5/17/19                  Iliac /1600
 Ray, Dominique                  AL             2/8/19                   Cardiac/> 1000
 Price, Christopher4er           AL             5/31/19                  Iliac/1000
 Moody, Walter Leroy             AL             4/19/18                  Iliac /1900
 Eggers, Michael Wayne           AL             4/19/18                  IVC/4000
 McNabb, Torey Twayne            AL             10/19/17                 Cardiac /4200
 Melson, Robert Bryant           AL             6/8/17                   No levels reported.
 Arthur, Thomas Douglas          AL             5/26/17                  No levels reported.
 Smith, Ronald Bert              AL             12/8/16                  No levels reported.
 Brooks, Christopher Eugene      AL             1/21/16                  No levels reported.
 Williams, Marcel Wayne          AR             5/27/16                  Peripheral /950
 Williams, Kenneth D             AR             4/28/17                  Peripheral /1800
 Lee, Lidell                     AR             4/21/17                  Peripheral /1400
 Locket, Clayton Darrell         OK             4/29/13                  Femoral /570
 Wood, Joseph Rudolf             AZ              7/24/14                 Peripheral /3690
 Irick, Billy Ray                TN             8/9/18                   Femoral /390
 Johnson Donnie Edward           TN             5/16/19                  Femoral /930
 John Grant                      OK             10/28/21                 Femoral/2200

Mean plasma level of midazolam 1644 ng/ml

Post mortem drug levels pose challenges in interpretation: the levels of a given drug depends on
what site the blood is drawn, and whether the drug is one that undergoes post mortem
redistribution (PMR) in the blood and body after death. Obviously accurately understanding the
levels of blood in a person's body at the time of death is critical in forensic medicine, to
determine the cause of death and whether death occurred because of a drug-related misadventure.
Some drugs and classes of drugs do not undergo significant PMR, and postmortem levels that are
drawn from a standard site in the body reflect antemortem levels. Because blood drawn from the
heart may show much higher levels than in the blood or effective site in the body, heart blood
and other more central veins are not generally acceptable for forensic purposes, and the standard
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sites from which postmortem drug levels is determined are the femoral and iliac veins. 134•135For
this reason, in calculating the mean above, only the cases in which blood was taken from the
femoral or iliac veins is included.

Benzodiazepines represent one class of drug that does not appear to have significant PMR. The
PM blood/therapeutic plasma concentration relationship is equal to 1 if the postmortem levels are
within the average therapeutic range of the drug. Launianen et al. found that for midazolam the
ratio is 1.0, for diazepam a closely related drug, the ratio is 0.9. 136 The average time from death
to autopsy in their series of approximately 50,000 autopsies was 5 days, which allows significant
time for PMR. Smaller intervals are likely to have less effect on PMR. Most autopsies of
executed prisoners took place within 24 hours of execution. The blood was drawn from John
Grant's body approximately 3 hours after death, for example. Similarly, Mantinieks et al. 137
studied over 800 autopsies in which both ante mortem and post mortem blood levels of drugs
were determined and found that benzodiazepines as a class of drugs had very small PMR values
compared to other classes of drugs. They concluded that benzodiazepines have low propensity
for PMR. Thus the drug levels above likely reflect the drugs levels at time of death.




134 Mantinieks D, et al. Postmortem drug redistribution: a compilation of
postmorem/antemortem drug concentration ratios. J Analytic Tox 2021; 45 :368-77
135 Launiainen T, Ojanpera I. Drug concentrations in post-mortem femoral blood compared with

therapeutic concentrations in plasma. Drug Test Analysis 2014; 6:308-16
136 Launiainen T, Ojanpera I. Drug concentrations in post-mortem femoral blood compared with

therapeutic concentrations in plasma. Drug Test Analysis 2014; 6:308-16
137 Mantinieks D, et al. Postmortem drug redistribution: a compilation of

postmorem/antemortem drug concentration ratios. J Analytic Tox 2021; 45:368-77
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   6NMSI                                                      NMS Labs                                         CONFIDENTIAL
                                       3701 Welsh Road. PO Box 433A. Wfltow Grove. PA 19090.0437
                                                Phone: (215) 857-4900 Far. (215) 657-2972
~..,,.,,. I       LABS                                   e-mail: nms@nmslabs.com
                                     Robert A. Mfddlebarg. PhD, F-ABFT. DABCC.TC, Laboratory Director


    Toxicology Report                                                       Patient Name        BANKS, CHADWICK
                                                                            Patient ID          R14-02237
    Report Issued      12/18/2014 11:03
                                                                            Chain               11843719
                                                                            Age43Y              DOB Not Given
                                                                           Gender               Male
      To: 60168
              University of Florida Pathology Laboratories                 Workorder            :Llf:liDiili
              4800 SW 35th Drive                                            Page1 of2
              Galnesvme. FL 32608



      Positive Findings:

          Compound                                                                    Units             Matrix Source
          Midazolam                                                                   ng/mL             001 - Femoral Blood

         See Detailed Findings section for additions I lnfonnatlo

      Testing Requested:
         Analysis Code ·                         Description
         3057B                                   Midazolam, Blood
~     Specimens Received:
         ID     TubeJContalner              Volume/       Collection             Matrix Source                Miscellaneous
                                            Mass          DatelTlme                                           Information
         001 ReclVtal                       2.75 ml       Not Gaven              Femoral Blood
         All samp!e volUmes/welghts are approximations.
         Specimens received on 12/12/2014.




                                                                                                                              v.14
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    .NMS
    ...,,... I        LABS      I
                                                                  NMS Labs
                                           3701 Welsh Road, PO Box 433A. Willow Grove, PA 19090-0437
                                                   Phone: (215) 657-4900 Fax: (215) 657-2972
                                                             e-mail: nms@nmslabs.com
                                                                                                                   CONFIDENTIAL



                                         Robert A. Middleberg, PhD. DABFT. DABCC-TC, Laboratory Director



    Toxicology Report                                                          Patient Name        DAVIS, EDDIE
                                                                               Patient ID          R14-01373
    Report Issued          07/25/2014 07:01
                                                                               Chain               11767689
                                                                               Age45Y              DOB Not Given
       To:        60168                                                        Gender              Male
                  University of Florida Pathology Laboratories                 Workorder           l,LI J,799%
                  4800 SW 35th Drive                                           Page 1 of 2

                  Gainesville, FL 32608



      Positive Findings:

             Compound                                              Result                 Units            Matrix Source
             Midazolam                                             1500                   nglml            001 • Iliac Blood


             See Detailed Findings section for additional information

      Testing Requested:
             Analysis Code                           Description
             3057B                                   Midazolam. Blood

~     Specimens Received:
             ID     Tube/Container             Volume/       Collection             Matrix Source                 Miscellaneous
                                               Mass          Date/Time                                            Information
             001 RedVial                       3ml           Not Given              Iliac Blood

             All sample volumes/weights are approximations.
             Specimens received on 07/18/2014.




                                                                                                                                  v.11
                         Case 5:14-cv-00665-F Document 612-2 Filed 02/12/22 Page 73 of 92




~~,
     6NMSI            LABS
                                                                  NMS Labs
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                                                   Phone: (215) 657-4900 Fax: (215) 657-2972
                                                             e-mail: mns@nmslabs.com
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                                         Robert A. Middleberg. PhD. DABFT. DABCC-TC. Laboratory Director



     Toxicology Report                                                         Patient Name        HENRY, JOHN
                                                                               Patient ID          R14-01223
     Report Issued         07/03/2014 15:01
                                                                               Chain               11767674
                                                                               Age63Y              DOB Not Given
       To:        60168                                                        Gender              Male
                  university of Florida Pathology Laboratories                 Workorder           1,~l,bl,270
                  4800 SW 35th Drive                                           Page 1 of 2

                  Gainesville, FL 32608



      Positive Findings:

             Compound                                              Result                 Units            Matrix Source
             Midazolam                                             1700                   ng/mL            001 • Iliac Blood

             See Detailed Findings section for additional Information

      Testing Requested:
          Analysis Code                              Description
             30578                                   Midazolam. Blood

.~    Specimens Received:
             ID     Tube/Container             Volume/       Collection             Matrix Source                 Miscellaneous
                                               Mass          Date/Time                                            Information
             001 RedVial                       3ml           Not Given              Iliac Blood

             All sample volumes/weights are approximations.
             Specimens received on 06/27/2014.




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                                                                                                                                  v.11
                     Case 5:14-cv-00665-F Document 612-2 Filed 02/12/22 Page 74 of 92



.NMS
...... I         LABS      I
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                                                      e-mail: nms@nmslabs.com
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                                    RobertA Mlddleberg. PhD. DABFT, DABCC-TC, Laboratoiy Director



Toxicology Report                                                        Patient Name       HENDRIX, ROBERT
                                                                         Patient ID         R14-00856
Report Issued         05/30/201416:01
                                                                         Chain              11727604
                                                                         Age47Y             DOB Not Given
                                                                         Gender             Male
  To:        60168
             University of Florida Pathology Laboratories                Workorder          L'tL28't~8
             4800 SW 35th Drive                                          Page 1 of 2

             Gainesville, FL 32608



  Positive Findings:

        Compound                                             Result                Units            Matrix Source
        Midazolam                                            1000                  ng/mL            001 -Iliac Blood

        See Detailed Findings section for additional lnfonnatlon

  Testing Requested:
        Analysis Code                            Description
        3057B                                    Midazotam. Blood

  Specimens Received:
        ID     Tube/Container             Volume/       Collection            Matrix Source               Miscellaneous
                                          Mass          Date/Time                                         Information
        001 RedVial                       3 ml          Not Given             Iliac Blood

        All sample volumes/weights are approximations.
        Specimens received on 05/23/2014.




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                     Case 5:14-cv-00665-F Document 612-2 Filed 02/12/22 Page 75 of 92




~
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    ..... I I     LABS
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                                                        e-men: nms@nmslebs.com
                                                                                                              CONFIDENTIAL



                                     RobertA. Mfddleberg, PhD, DABFT, DABCC-TO, Laboratory Director


    Toxicology Report                                                      Patient Name       HENRY, ROBERT
                                                                           Patient ID         R14-00613
    Report Issued 04/03/2014 15:02
                                                                          Chain               11727575
                                                                          Age55Y              DOB Not Given
     To: 80168                                                            Gender              Male
              University of Florida Pathology Laboratories                Workorder           lilfD71f:a.5S
              4800 SW 35th Drive                                           Page1 of2
              Galnesvllle. FL 32608



     Positive Findings:

         Compound                                              Result                Units            IVlatrlx Source
         Midazolam                                             1600                  nglmL            001 - lltac Blood

         See Detailed Findings section for addttlonal Information

     Testing Requested:
        Analysis Code                            Description
        3057B                                    M1dazolam. Blood
~    Specimens Received:
         ID     Tube1Con1alner             Volume/       Collection            Matrix Source                 Miscellaneous
                                           Mass          DateJTfme                                           Information
         001 Redviai                       2.8 ml        Not Given              iliac Blood
         All sample volumes/weights are approximations.
         Specimens received on 03/28/2014.




                                                                                                                             v.11
                       Case 5:14-cv-00665-F Document 612-2 Filed 02/12/22 Page 76 of 92




~
    .NMS
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                                                           e-malt nms@nmslab9.com
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                                       Robert A. Mlddfeberg. PhD. DABFT, DABCO-TC, Laboratoiy Director


    Toxicology Report                                                        Patient Name        HOWEL~ PAUL
                                                                             Patient ID          R14-00418
    Report Issued        03/06/2014 11:01
                                                                             Chain               11727572
                                                                             Age48Y              DOB Not Given
                                                                             Gender              Male
     To:        60168
                University of Florida Pathology Laboratories                 Workorder           lillD5DDlf J,
                4800 SW 35th Drive                                           Page1 of2
                Gainesville. FL 32608


     Positive Findings:

           Compound                                              Result                 Units            Matrix Source
           Mldazolam                                             2700                   nglmL            001 - Ulac Blood

           See Detailed Findings section for additional Information

     Testing Requested:
         Analysis Code                             Description
           30578                                   M1clazolam. Blood
~    Specimens Received:
           ID     Tube/Container             Volumel       Colleetfon             Matrix Source                  Miscellaneous
                                             Mass          Date/Time                                             Information
           001 ReclVial                      smt           Not Given              Iliac B!ood
           All samp!e volumes/Weights are approximations.
           Specimens received on 02/2812014.




                                                                                                                                 v.11
              Case 5:14-cv-00665-F
   Cas~: 2:11-cv-01016-EAS-MRM     Document
                                 Doc#: 2026-31612-2   Filed 02/12/22
                                               Filed: 11/21/18  Page: 7Page
                                                                        of 1077PAGEID
                                                                                of 92 #: 97187

                                        ..        .-      Commonwealth ofVirginia

                                       DEPARTMENT OFFORENSICSCIENCE
                                                    CERitffCATI: Ot: A~ALV&IS            Cc:niral Laboratory
                                                                                         700 N. 5th Strool
                                                                                         Richmond, VA 23219
                                                           September IS, 2017
                                                                                         Tel.No.:              (804)786-4707
                                             ~
                                                 ~- ...                                  Pax:                  (804) 786~907

 TO:          LAUREN N. HUDDLE, M.D.
              OFFICE OF THE CHIBP MEDICAL EXAMINER
              400 EAST JACKSON STREET
              RICHMOND, VA 23219




 Your Case#:       C04SS-17, C2017-64386

 Victim(s);         MORVA, William

 Suspect(s):

 Evidence Submitted By:         Pamela Blizzard                                         Date Received:         07/11/2017

   Item TXl                     1\vo (2) red border vials of iliac blood
   Item TX2                     One (1) vial of vitreous

'RESULTS:                                                                                                                        I)



Jtem TXI
Iliac Blood:
     Ethanol none detected
     Midazolam 2.3 mg/L
    aipha-Hydroxymidazolam present

No other drugs and/or drug classes were detected.

Item TX I was screened for the following drugs and/or drug classes:
Ethanol, methanol, acetone, isopropanol, cocaine/bcnzoylecgonine, opiates, oxycodone/oxymOiphone,
methamphetamlne/methylcncdioxymethamphetamine (MOMA), phencyclidino, barbiturates, benzodiazepinea,
carisoprodoVmeprobamate, fentanyl, methadone, zolpidem, cannabinoids.


Item TX2
Vitreous;
    Ethanol none detected

Item TX2 was screened for the following drugs and/or drug classes:
Ethanol, methanol, acetone, isopropanol.

See attached document for Uncertainty of Measurement reporting.


Supporting examination docwnentation is maintained in the case fiJo. The evidence is being returned to the Office of the Chief
 ,edical Examiner.


                                                              Page I of2
                         Case 5:14-cv-00665-F Document 612-2 Filed 02/12/22 Page 78 of 92
                                                                                                                     OFFICE USE ONLY
                                              BOARD OF MEDICOLEGAL INVESTIGATIONS
                                                                                                                     Re.            Co.
                                              OFFICE OF THE CHIEF MEDICAL EXAMINER
                                                                                                                     I hereby certify that this is a true
                                                              901 N.Stonewall                                        and correct copy of the original
                                                       Oklahoma City, Oklahoma 73117                                 document Valid only when copy
                                                                                                                     bear im-print by the office seal.

                                                REPORT OF LABO RATORY ANALYSIS                                       By _ _ _ _ __

                                                                                                                     Date _ _ _ _ __




ME CASE NUMBER: 1500255                                                          LABORATORY NUMBER: 150241

DECEDENT'S NAME:               CHARLES WARNER                                    DATE RECEIVED:                1/16/2005

MATERIAL SUBMITTED: BLOOD                                                        HOLD STATUS: 5 YEARS




SUBMITTED BY:              KYLA JORGENSON                                        MEDICAL EXAMINER:        JOSHUA LANTER M.D.




NOTES:            Duplicate of case 15-0267

ETHYL ALCOHOL:

      Blood:        NEGATIVE (Femoral)

      Vitreous:

      Other:

CARBON MONOXIDE
      Blood:
~
TESTS PERFORMED:
      ALKALINE DRUG SCREEN - (Femoral Blood)
      BENZODIAZEPINES BY LCMS - (Femoral Blood)
      EIA - (Femoral Blood) - Amphetamine, Methamphetamine, Fentanyl, Cocaine, Opiates, PCP, Barbiturates, Benzodiazepines
           (The EIA panel does not detect Oxycodone, Methadone, Lorazepam or Clonazepam)


RESULTS:
  MIDAZOLAM
        3.2 mcg/mL - (Femoral Blood)




    02/25/2015
    DATE                                                             Byron Curtis, Ph.D., F-ABFT, Chief Forensic Toxicologist
                     Case 5:14-cv-00665-F Document 612-2 Filed 02/12/22 Page 79 of 92




~   6NMS                                                          NMS Labs                                         CONFIDENTIAL
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      I I            LABS                                    e-mail: nms@nmslabs.com
                                         Robert A. Mfddleberg, PhD, F-ABFT, DABCC-TC, Laboratory Director


    Toxicology Report                                                          Patient Name        SAM~ MICHAEL
                                                                               PatfentlD           19ME017O2
    Report Issued        08/09/201917:06
                                                                               Chain               30233382
                                                                               Age Not Given       DOB Not Given
      To:        20107                                                         Gender              Not Given
                 Alabama Department of Forensic Science -                      Workorder           1,1abas,b
                 Attn: Dr. Curt Harper
                 2026 vaneydale Road
                 Hoover, AL 352442095                                          Pago1 of2




     Positive Findings:

            Compound                                              BnuJl                  1Jnlla             Matrix source
            Mldazolam                                             1800                    ng/mL             001 - mac Blood


            See Detailed Findings section for additional infonnatlon

     Testing Requested:
            Analysis Code                            Description
            9329B                                    Benzodiazepines Panel, Blood

     Specimens Received:
            ID     Tube/Container              Volume/       Collection             Matrix Source                 Miscellaneous
                                               Mass          Date/Time                                            lnfonnatlon
            001 Blue Vial                      1.75ml        Not Given              Iliac Blood

            All sample volumes/welghts are approximations.
        · Specimens received on 05/31/2019.




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                                  Caser\T..AnAMA
                                        5:14-cv-00665-F Document 612-2 Filed 02/12/22 Page 80 of 92
                                              DEPARTMENT Ofi' FORENSIC SCIENCES
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                                              I lr1tNH, ,\I, Jli2J.l.1n9!i                                   rtacsin,ae (21>S) 403•2«rJS




                                                                                   TOXICOLOGICALANALYSISBEPORT



           Su1ci "tumu, MD                                                                                                                             ADPS Case Number             19MJ.:JJ09SC,
           Alabama Dcparuncnt of Forensic Sciences                                                                                                    Agency Caae Number
           P. 0. Box ?925 Crichton Station                                                                                                                      Caae Date            02/07 /20·19
           2451 .PUUngim Sueet                                                                                                                            Date: Completed            U5/22/20tc>
           Mob!le, AL 36670...7925                                                                                                                              BeportID            · 120170234-


           Subject         Ray, Dominiqu.c
    'Evidence analyxed (locludi11r, eub•lEetna)
    Item               Specimen                                      Analytc                                                                  Reault                            Meltho4(s) ·                         No,ca
                       fil,>aJ, eal'.:llnc:                           l~,J,antil                                                                                                HS/GC
                       Blnnd, cwtar.                                  ft~(Cl'(tl\Cr. lStbtH'a.fO')'   an~fylt-1                                                                                                      .3

                       monll. Ci\tJi11c                                                                                                         Orcsirc:r rhnn 1001J n1t/ml •

    1s.,               .Bload. cnrdiac                                                                                                          NA

,,-...\4               Urine                                                                                                                    N.A
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                       IJrin~                                                                                                                   NA

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              Case 5:14-cv-00665-F Document 612-2 Filed 02/12/22 Page 81 of 92




.• NMS  I       LABS      I
                                                             NMS Labs
                                                200 Welsh Road, Horsham, PA 19044-2208
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                                                        e--mafl: nms@nmsfabs.com
                                    Robert A. Mfddleberg, PhD, F-ABFT. DABCC-TC, Laboratory Director


Toxicology Report                                                         Patient Name         PRICE, CHRISTOPHER
                                                                          Patient ID           19ME01791
Report Issued       07/01/201915:05
                                                                          Chain                30233392
                                                                          Age Not Given        DOB Not Given
 To:        20107                                                         Gender               Not Given
            Alabama Department of Forensic Science -                      Workorder            L'llaa18b5
            Attn: Dr. Curt Harper
            2026 Valleydale Road
            Hoover, AL 352442095                                          Page 1 of2



 Positive Findings:

       compound                                              Bmllll1                .IJnil1l           Matrix source
       Mldazolam                                             1000                    ng/mL             001 - Femoral Blood


       See Detailed Findings section for additional information

 Testing Requested:
       Analysis Code                            Description
       9329B                                    Benzodiazeplnes Panel, Blood

 Specimens Received:
       ID     Tube/Container              Volume/       Collection             Matrix Source                 Miscellaneous
                                          Mass          Datemme                                              lnfonnatlon
       001 Blue Vial                      2.75ml        Not Given              Femoral Blood

       All sample volumes/weights are approximations.
       Specimens received on 08119/2019.




                                                                                                                         NMSv.18.0
                     Case 5:14-cv-00665-F Document 612-2 Filed 02/12/22 Page 82 of 92

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                                                         e-mail: nms@nmslabs.com
                                     Robert A. Middleberg, PhD, F-ABFT, DABCC-TC, Laboratory Director



Toxicology Report                                                          Patient Name            MOODY, WALTER
                                                                           Patient ID              18ME01272
Report Issued           05/30/2018 18:03
                                                                           Chain                   30221479
                                                                           Age Not Given           DOB Not Given
                                                                           Gender                  Not Given
  To:        20107
             Alabama Department of Forensic Science -                      Workorder               18148905
             Attn: Dr. Curt Harper
             2026 Valleydale Road
             Hoover, AL 352442095                                          Page 1 of 2




 Positive Findings:

        Compound                                               Result                 .lln.i.ts.        Matrix Source
        Midazolam                                              1900                   ng/ml             001 - Iliac Blood


        See Detailed Findings section for additional information

 Testing Requested:
        Analysis Code                            Description
        93298                                    Benzodiazepines Panel, Blood

 Specimens Received:
        ID     Tube/Container              Volume/       Collection              Matrix Source                 Miscellaneous
                                           Mass          Date/Time                                             Information

        001 Blue Vial                      3.2ml         Not Given               Iliac Blood

        All sample volumes/weights are approximations.
        Specimens received on 05/22/2018.




                                                                                                                            NMS v. 18.0
                     Case 5:14-cv-00665-F Document 612-2 Filed 02/12/22 Page 83 of 92
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                                                         e-mail: nms@nmslabs.com
                                     Robert A. Middleberg, PhD, F-ABFT, DABCC-TC, Laboratory Director



Toxicology Report                                                          Patient Name         EGGERS , MICHAEL
                                                                           Patient ID           18ME01060
Report Issued        04/25/2018 18:02
                                                                           Chain                30221463
                                                                           Age Not Given        DOB Not Given
                                                                           Gender               Not Given
  To:        20107
             Alabama Department of Forensic Science -                      Workorder            18107030
             Attn: Dr. Curt Harper
             2026 Valleydale Road
             Hoover, AL 352442095                                          Page 1 of 2




 Positive Findings:

        Compound                                               Result                 Un.its.           Matrix Source
        Midazolam                                              4000                   ng/mL             001 - IVC (Inferior Vena
                                                                                                        Cava) Blood


        See Detailed Findings section for additional information

 Testing Requested:
        Analysis Code                            Description
        9329B                                    Benzodiazepines Panel, Blood

 Specimens Received:
        ID     Tube/Container              Volume/       Collection              Matrix Source                 Miscellaneous
                                           Mass          Date/Time                                             Information

        001 Blue Vial                      1.75ml        Not Given               IVC (Inferior Vena Cava)
                                                                                 Blood

        All sample volumes/weights are approximations.
        Specimens received on 04/13/2018.




                                                                                                                            NMS v.18.0
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18ME00120 - McNabb NMS Report.pdf                        Open with Google Docs



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                                                       3701 Welsh Road, PO Box 433A, Willow Grove, PA 19090-0437
                                                             Phone: (215) 657-4900 Fax: (215) 657-2972
                                                                        e-mail:
                                                    Robert A. Middleberg. PhD. F-ABFT, DABCC-TC, Laboratory Director



               Toxicology Report                                                          Patient Name         MCNABB, TORREY
                                                                                          Patient ID           18ME00120
               Report Issued          11/13/2017 15:03
                                                                                          Chain                30204696
                                                                                          Age Not Given        DOB Not Given
                 To:        20107                                                         Gender               Not Given
                            Alabama Department of Forensic Science -                      Workorcler           17342688
                            Attn: Dr. Curt Harper
                            2026 Valleydale Road
                            Hoover, AL 352442095                                          Page 1 of2




                 Positive Findings:

                        compound                                              .BuW1                  1lD.lm            Matrix source
                        Mldazolam                                             4200                   ng/ml             001 - Cardiac Blood


                       See Detailed Findings section for additional Information

                 Testing Requested:
                       Analysis Code                            Description
                       9329B                                    Benzodlazepines Panel, Blood

                 Tests Not Performed:
                   Part or all of the requested testing was unable to be performed. Refer to the Analysis Summary and Reporting Limits               i



                                                                                                                                                     ~~
                   section for details.


                 Specimens Received:
                       ID     Tube/Container              Volume/       Collection             Matrix Source                 Miscellaneous
                                                          Mass          Datemme                                              Information
                       001 Blue Vial                      1.8ml         Not Given              Cardiac Blood

                       All sample volumes/weights are approximations.
                       Specimens received on 11/03/2017.




                                                                                                                                         NMSv.18.0




                                                      CONFIDENTIAL                Workorder          17342688

              .NMS
                I I            LABS
                                                                                  Chain
                                                                                  Patient ID
                                                                                                     30204696
                                                                                                     18ME00120

                                                                                  Page 2 of2

                                                Page                2
                 Detailed Findings:
                                                                                           RDt.
          Case 5:14-cv-00665-F Document 612-2 Filed 02/12/22 Page 85 of 92
NAME: WILLIAMS, Marcel Wayne                                                                                   NO: 0442-17

RADIOLOGY:

No radiographs were taken.

WITNESSES:

No visitors from outside agencies were present during the examination.


                                              LABORATORY RESULTS

TOXICOLOGY:
Marcel Williams:
Peripheral blood
       Volatile
              Acetone                                                not detected
              Ethanol                                                not detected
              lsopropanol                                            not detected
              Methanol                                               not detected

       Immunoassay
           Benzodiazepines                                           positive
           Cannabinoids                                              negative
              Cocaine                                                negative
              Methadone                                              negative
              Methamphetamines                                       negative
              Opiates                                                negative
              Oxycodone                                              negative
              Propoxyphene                                           negative

       General Toxicology
             Caffeine                                                present
             Midazolam                                               0.95 µg/ml                   (± 0.11 µg/ml)


Note: Reported measurement uncertainties define an interval having a level of confidence of at least 95%.




6 Page Report/Page 5                                                                     ASCL Official Copy - Do Not Duplicate
               Case 5:14-cv-00665-F Document 612-2 Filed 02/12/22 Page 86 of 92
    NAME: WILLIAMS, Kenneth D.                                                                                        NO: 0455-17


                                                  LABORATORY RESULTS

~   TOXICOLOGY:
    Kenneth Williams:
    Peripheral blood
           Volatile
                  Acetone                                                not detected
                  Ethanol                                                not detected
                  lsopropanol                                            not detected
                  Methanol                                               not detected

           Immunoassay
                Benzodiazepines                                          positive
                  Cannabinoids                                           negative
                  Cocaine                                                negative
                  Methadone                                              negative
                  Methamphetamines                                       negative
                  Opiates                                                negative
                  Oxycodone                                              negative
                  Propoxyphene                                           negative

            General Toxicology
                  Caffeine                                               present
                  Midazolam                                              1.8 µg/ml                    (± 0.2 µg/ml)


    Note: Reported measurement uncertainties define an interval having a level of confidence of at least 95%.




    6 Page Report/Page 5                                                                     ASCL Official Copy - Do Not Duplicate
          Case 5:14-cv-00665-F Document 612-2 Filed 02/12/22 Page 87 of 92
NAME: LEE, Ledell                                                                                           NO: 0428-17

    3. The clothing is released to the investigating agency.

SPECIMENS:

    1. Blood and urine are submitted for toxicological analysis.
    2. Vitreous fluid, peripheral blood, stock tissue, and liver samples are retained for possible
       future studies.


                                              LABORATORY RESULTS

TOXICOLOGY:
Ledell Lee:
Peripheral blood
       Volatile
              Acetone                                                not detected
              Ethanol                                                not detected
              lsopropanol                                            not detected
              Methanol                                               not detected

       Immunoassay
           Benzodiazepines                                           positive
           Cannabinoids                                              negative
              Cocaine                                                negative
              Methadone                                              negative
              Methamphetamines                                       negative
              Opiates                                                negative
              Oxycodone                                              negative
              Propoxyphene                                           negative

       General Toxicology
             Caffeine                                       present
             Midazolam                                      1.4 µg/ml                 (± 0.2 µg/ml)
                    The above reported drug amount has not been corroborated by replicate analysis.


Note: Reported measurement uncertainties define an interval having a level of confidence of at least 95%.




7 Page Report/Page 6                                                                     ASCL Official Copy - Do Not Duplicate
                  Case 5:14-cv-00665-F Document 612-2 Filed 02/12/22 Page 88 of 92
                                                                                                                OFFICE USE ONLY
                                         BOARD OF MEDICOLEGAL INVESTIGATIONS
                                                                                                                Re. _ _ Co. _ _
                                         OFFICE OF THE CHIEF MEDICAL EXAMINER
                                                                                                                I hereby certify that this is a true
                                                            901 N.Stonewall                                     and c:crrect copy of lhe original
                                                    Oklahoma City, Oklahoma 73117                               document. Valid only when copy
                                                                                                                bear Im-print by the office seal

                                             REPORT OF LABORATORY ANALYSIS                                      By _ _ _ _ __
                                                                                                                Date _ _ _ _ __




ME CASE NUMBER: 1401959                                                       LABORATORY NUMBER: 141639

DECEDENT'S NAME:         CLAYTON D LOCKETT                                    DATE RECEIVED:              4/30/2014

MATERIAL SUBMITTED: BLOOD                                                     HOLD STATUS: 5 YEARS




SUBMITTED BY:        MEGAN HARRIS                                             MEDICAL EXAMINER:       JOSHUA LANTER M.D.




NOTES:
ETHYL ALCOHOL:

   Blood:      Not Performed
   Vrtreous:

   Other:

CARBON MONOXID§
  Blood:

TESTS PERFORMED;
   ALKALINE DRUG SCREEN - (Femoral Blood)
   EIA - (Femoral Blood) - Amphetamine, Methamphetamine, Fentanyl, Cocaine, Opiates, PCP, Barbiturates, Benzodiazepines
      {The EIA panel does not detect Oxycodone, Methadone, Lorazepam or Clonazepam)



RESULTS:
  MIDAZOLAM
    0.57 mcg/ml - (Femoral Blood)

   Lidocaine
     Detected (Not Confirmed) - (Femoral Blood)




                                                                                         MAY 1 5 2014




 05/14/2014
 DATE                                                                           Byron Curtis, Ph.D., DABFT, Chief Forensic Toxicologi~-
                      Case 5:14-cv-00665-F Document 612-2 Filed 02/12/22 Page 89 of 92


                                                                      2265 Executive Drive, Indianapolis, IN 46241
                                                                     Telephone: (800)875-3894 / Fax: (317)243-2789
                                                                                Toxicology: (317)381-5678

  Laboratory Specimen No:         40431418                       Continued ..


  Analyte Name                         Result              Concentration        Uni1s      Therapeutic Range        Loe
   Midazolam                           POSITIVE
      Midazolam, Quant                                              3690        ng/ml                   50 - 600
  ANTICONVULSANTS                      Negative
  ANTIDEPRESSANTS                      Negative
  ANTIHISTAMINES                       Negative
  ANTI PSYCHOTICS                      Negative
  CARDIOVASCULAR AGENTS                Negative
  ENDOCRINE AGENTS                     Negative
  GASTROENTEROLOGYAGENTS               Negative
  NARCOTICS                            Negative
  NEUROLOGY AGENTS                     Negative
  SEDATIVES/HYPNOTICS                  Negative
  STIMULANTS                           POSITIVE
           Caffeine             POSITIVE


                                           Specimens will be kept f,,r at least one year from the date of initial report.




WOOD Ill, JOSEPH
Laboratory Case#: 2746551
Printed Dateffime: 08/18/2014, 09:03                                                                        Page: 2 of 6
          Case 5:14-cv-00665-F Document 612-2 Filed 02/12/22 Page 90 of 92




t)NMS
   I I         LABS
                                                              NMS Labs
                                       3701 Welsh Road, PO Box433A, WiUowGrove, PA 19090-0437
                                               Phone: (215) 657-4900 Fax: (215) 657-2972
                                                         e-mail: nms@rvnslabs.com
                                                                                                                CONFIDENTIAL




                                     Robert A. Middleberg, PhD, F-ABFT, DABCC-TC, Laboratory Director



Supplemental Report                                                        Patient Name         IRICK, BILLY RAY
                                                                           Patient ID           MEC#18-2174
Report Issued 11/26/2018 12:00
                                                                           Chain                18254411
Last Report Issued 09/07/2018 07:02
                                                                           Age Not Given        DOB Not Given
 To:      10341                                                            Gender               Not Given
          Forensic Medical Management Services - Nashville                 Workorder            18254411
          850 R.S. Gass Blvd.

          Nashville, TN 37216                                              Page 1 of 3




 Positive Findings:

        Compound                                             &fil!!t                   Units            Matrix Source
       Caffeine                                               Positive                 mcg/mL           001- Femoral Blood
       Midazolam                                              390                      ng/mL            001 • Femoral Blood


       See Detailed Findings section for additional information

 Testing Requested:
    Analysis Code                              Description
    8042B                                      Postmortem, Expanded w/Vrtreous Alcohol Confirmation, Blood
                                               (Forensic)

 Specimens Received:
    ID      Tube/Container                Volume/       Collection             Matrix Source                  Miscellaneous
                                          Mass          Date/Time                                             Information
    001 Gray Top Tube                     9.3ml         08/10/2018 13:38       Femoral Blood
    002 Red Top Tube                      4.1 ml        08/10/2018 13:38       Vitreous Fluid
    003 White Plastic Container           26ml          08/10/2018 13:38       Urine

    All sample volumes/weights are approximations.
    Specimens received on 08/31/2018.




                                                                                                                            NMS v.18.0
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         NMS                                                 NMS Labs
                                                200 Walsh Road, Horsham, PA 19044-2208
                                               Phone: (215)6574900 Fax: (215) 657-2972
                                                        e-maR: nms@nmslabs.com
                                                                                                               CONFIDENTIAL



                                     RobertA. Mkldlebetg, PhD, F-ABFT. DABCC-TC, Laboratory Director


Toxicology Report                                                          Patient Name         JOHNSON, DONNIE
                                                                           Patient ID           MEC# 19-1293
Report Issued       06/05/201910:04
                                                                           Chain                19150044
                                                                           Age Not Given        DOB Not Given
 To:        10341                                                          Gender               Not Given
            Forensic Medical Management Services - Nashville               Workorder            19150044
            850 R.S. Gass Blvd.

            Nashville, TN 37216                                           Page 1 of4



 Positive Findings:

        Compound                                             BoYl1                   .unJm             Matrix Source
        Mldazolam                                            930                     ng/ml             001 - Femoral Blood
        Gliplzlde                                            360                     ng/mL             001 - Femoral Blood


       See Detailed Findings sedion for additional fnformatlon

 Testing Requested:
       Analysis Coda                            D~cription
       80428                                    Postmortem, Expanded wMtreous Alcohol Confinnatlon, Blood
                                                {Forensic)

 Specimens Received:
       ID    Tube/Container               Volumel       Collectfon             Matrix Sourca                 Miscellaneous
                                          Mass          Date/nine                                            Information
       001 Gray Top Tube                  10ml          05/17/2019 09:00       Femoral Blood
       002 Gray Top Tube                  9.5ml         05/17/2019 09:00       Heart Blood
       003 Red Top Tube                   7,25ml        05/17/2019 09:00       Vitreous Fluid
       004 White Plastic Container        60ml          05/17/2019 09:05       Urine

       Alf sample volumes/weights are approxlmatlans.
       Specimens received on 05/2112019.




                                                                                                                           NMSv.18.0
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                                                                                                                OFFICE USE ONLY
                                        BOARD OF MEDICOLEGAL INVESTIGATIONS
                                                                                                                Re.           Co.
                                        OFFICE OF THE CHIEF MEDICAL EXAMINER
                                                                                                                I hereby certify that this Is a true
                                                            921 N.E. 23rd St                                    and correct copy of the original
                                                        Oklahoma City, OK 73105                                 dooomenl Valid only when copy
                                                                                                                bear Im-print by tha office saal.

                                            REPORT OF LABORATORY ANALYSIS                                       By _ _ _ _ __
                                                                                                                Date _ _ _ _ __




ME CASE NUMBER: 2107045                                                       LABORATORY NUMBER: 215451

DECEDENT'S NAME:         JOHN MARION GRANT                                    DATE RECEIVED:              11/1/2021

MATERIAL SUBMITTED: BLOOD, VITREOUS, URINE, LIVER, BRAIN,                     HOLD STATUS: 5 YEARS
                    GASTRIC, BILE, MUSCLE



SUBMITTED BY:        SARAH CAMPBELL                                           MEDICAL EXAMINER: JEREMY SHELTON M.D.




ETHYL ALCOHOL·
  Blood:       Not Performed
   Vitreous:

   Other:

CARBON MONOXIDE
   Blood:

JESD PERFORMED;
   ALKALINE DRUG SCREEN - (Heart Blood)
   BENZODIAZEPINES BY LCMS - (Heart Blood)
   EIA - {Femoral Blood) - Amphetamine, Methamphetamine, Fentanyl, Cocaine, Opiates, PCP. Barbiturates, Benzodiazepines
    (The EIA panel does not detect Oxycodone, Methadone, or Clonazepam)

RESULD;
   ALPRAZOLAM
    POSITIVE - (Less than 25 ng/ml) - (Femoral Blood)

   MIDAZOLAM
    2200 ng/mL - (Femoral Blood)




01/06/2022
DATE                                                           JESSE KEMP, Ph.D., D-ABFT-FT, Chief Forensic Toxicologist




                                                                                                               OAG-020359
